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                        EXHIBIT “C”
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                 OAIjAl Document A104 - 2017
                  standard Abbreviated Form of Agreement Between Owner and Contractor

                 AGREEMENT made as of the44”’ day of October in tire y^r 2021                              fA
                 (In words, indicate day, month and year.)

                 BETWEEN the Owner:                                                                     11/1/2021 1 1:45 PHAESDTIONS AND DELETIONS:
                                                                                                                                         The author of this document has
                 (Name, legal status, address and other information)
                                                                                                                                         added information needed for its
                                                                                                                                         completion. The author may also
                 KLS Logistics, Inc
                                                                                                                                         have revised the text of the original
                 c/o DHL Supply Chain (USA)
                                                                                                                                         AIA standard form. An Additions and
                 360 Westar Boulevard
                                                                                                                                         Deletions Report that notes added
                 Westerville, Ohio 43082                                                                                                 information as well as revisions to the
                 Attention: Legal Department                                                                                             standard form text is available from
                                                                                                                                         the author and should be reviewed. A
                 and the Contractor:                                                                                                     vertical line in the left margin of this
                 (Name, legal status, address and other information)                                                                     document indicates where the author
                                                                                                                                         has added necessary information
                 Scungio Borst Associates                                                                                                and where the author has added to or
                 2 Riverside Drive, Suite 500                                                                                            deleted from the original AIA text.
                 Camden, NJ 08103
                                                                                                                                         This document has important legal
                 Phone: 856.757,0100
                                                                                                                                         consequences. Consultation with ari
                                                                                                                                         attorney is encouraged with respect
                 for the following Project:
                                                                                                                                         to its completion or modification.
                 (Name, location and detailed description)

                PL,CB Warehouse Improvements - Phases 2
                11601 Roosevelt Blvd
                Philadelphia, PA 19154
                This project is the improvement work to the existing active Pennsylvania Liquor Control
                Board distribution building. Owner leases the building from NP Roosevelt Industrial 11,
                LLC ("landlord") The improvements for these phases consists of electrical and plumbing
                work for new equipment placement and relocation of existing equipment along with
                associated work as well as new sprinkler lines and reworking existing sprinkler heads in
                select storage racks.

                The Architect:
                (Name, legal status, address and other information)

                N/A




                The Owner and Contractor agree as follows.




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                TABLE OF ARTICLES

                1                      THE WORK OF THIS CONTRACT

                2                      DATE OF COMMENCEMENT AND SUBSTANTIAL COMPLETION

                3                      CONTRACT SUM

                4                      PAYMENT

                5                      DISPUTE RESOLUTION

                6                      ENUMERATION OF CONTRACT DOCUMENTS

                7                      GENERAL PROVISIONS

                8                      OWNER

               9                      CONTRACTOR

                10                     ARCHITECT

               11                     SUBCONTRACTORS

               12                     CONSTRUCTION BY OWNER OR BY SEPARATE CONTRACTORS

               13                     CHANGES IN THE WORK

               14                     TIME

               15                     PAYMENTS AND COMPLETION

               16                     PROTECTION OF PERSONS AND PROPERTY

               17                     INSURANCE AND BONDS

               18                     CORRECTION OF WORK

               19                     MISCELLANEOUS PROVISIONS

               20                     TERMINATION OF THE CONTRACT

               21                     CLAIMS AND DISPUTES

               EXHIBIT A DETERMINATION OF THE COST OF THE WORK

               ARTICLE 1                      THE WORK OF THIS CONTRACT
               The Contractor shall execute the Work described in the Contract Documents, except as specilically indicated in the
               Contract Documents to be the responsibility of others.

               ARTICLE 2                     DATE OF COMMENCEMENT AND SUBSTANTIAL COMPLETION
               § 2.1 The dateof commencement of the Work shall be:
               (Check one ofthe following boxes.)

      I               [X]         The date of this Agreement.


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                         [ ]         A date set forth in a notice to proceed issued by the Owner.

                        [ ]          Established as follows:
                                     (Insert a date or a means to determine- the date ofcommencement of the Work.)


               If a date of commencement of the Work is not selected, then the date of commencement shall be the date of this
               Agreement.

               § 2.2        The Contract Tinie shall be measured from the date of commencement.

               § 2.3         Substantial Completion
               § 2,3. 1 Subject to adjustments of the Contract Time as provided in the Contract Documents, the Con tractor shall
               achieve Substantial Completion of the entire Work:
               (Check the appropriate box and complete the necessary information.)



               [X]             By the following date: JamraTy’‘3iT303a.

               § 2.3.2  Subject to adjustments ofthe Contract Time as provided in the Contract Documents, if portions of the Work are
               to be completed prior to Substantial Completion of the entire Work, tire Contractor shall achieve Substantial
               Completion of such portions by the following dates:
                                                                                                                                                                  11/1/2021 1 1:45
                             Portion of Work                                        Substantial Completion Date




               § 2.3.3   If the Contractor fails to achieve Substantial Completion as provided in this Section 2.3, liquidated damages, if
               any, shall be assessed as set forth in Section 3.5.

               ARTICLE 3            CONTRACT SUM
               § 3.1 The Owner shall pay the Contractor the Contract Sum in current funds for the Contractor’s performance of the
               Contract. The Contract Sum shall be one ofthe following:
               (Check the appropriate box.)

                       [X]          Stipulated Sum, in accordance with Section 3.2 below

                       [ ]          Cost of the Work plus the Contractor’s Fee, in accordance with Section 3.3 below

                       []           Cost ofthe Work plus the Contractor’s Fee with a Guaranteed Maximum Price, in accordance with
                                    Section 3.4 below

               (Based on the .selection above, complete Section 3.2, 3.3 or 3.3 below.)

              § 3.2 The Stipulated Sum shall be Eight Hundred Ninety-Six Thousand One Hundred Ninety-Two and 00/100 Dollars
              {$. 896,192.00), subject to additions and deductions as provided in the Contract Documents.

              § 3.2.1 The Stipulated Sum is based upon the following alternates, if any, which are described in the Contract
              Documents and are hereby accepted by the Owner:
              (State the numbers or other identification of accepted alternates. If the bidding or proposal documents permit the
              Owner to accept other alternates subsequent to the execution of this .Agreement, attach a schedule ofsuch other
              alternates showing the amountfor each and the date when that amount expires.)

              N/A

              § 3.2.2        Unit prices, if any:
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               (Idenlify the item and slate the unit price and the quantity limitations, ifany, to which the unit price will be
               applicable.)

                           Item                                                     Units and Limitations                Price per Unit ($0.00)


               § 3.2.3           Allowances, if any, included in the stipulated sum:
               (Idenlify each allowance.)

                           Item                                                    Price
                           Permit Allowance                                        $1,257.00

               § 3.2.4.1 In preparing the Contractor’s Stipulated Sum Price proposal, due to the lack of existing documentation in
               creation of the Scope of Work, the Contractor has included a contingency for the Contractor’s use following notice to
               and approval by Owner and in accordance with §3.2.4.2 and §3.2.4.3 to cover those costs that are included in the
               Stipulated Sum Price but not otherwise allocated to another line item or included in a Change Order.

               § 3.2,4.2 The Contractor Contingency shall exist to cover expected but unknown costs that are not detailed in the
               Stipulated Sum Price, or increased costs properly incurred in the performance of the Work which arise after the
               beginning of the Work and which were and which could not have reasonably been anticipated, but which are not
               properly considered a Change Order, such as (i) refinement of details of design within the scope and standard of
               quality and quantities on which the Stipulated Sum Price is based, (ii) schedule acceleration, used in the interest of the
               Contractor to benefit the Project schedule through the use of premium time or overtime for select trades or equipment
               costs (except to the extent the Contractor or a Subcontractor is at fault), (iii) shift work, design conflicts and changes in
               the final design plans (iv) availability of material, material or labor cost escalations, (v) corrective Work as a result of
               damage by parties unknown, or (vi) any other items or costs necessaiy or appropriate to the timely and proper
               completion of the Project. Amounts may be charged against Contingency only with the Owner’s written consent,
               which shall not be unreasonably withheld. When Owner has approved a draw against Contingency, the Contractor
               shall increase the relevant Trade Work budgeted line item(s) by the amount of the decrease the Contingency line item
               accordingly. In no circumstances shall Contingency be transferred or applied to Contractor’s staffing costs or
               General Conditions, unless approved in advance by Owner.

              § 3.2.4.3 The Contractor’s contingency is not intended for nor shall it be used to pay for costs related to the following:
              errors or omissions in the information provided to the Contractor in developing the Scope of Work; discrepancies in
              the construction of the existing building pertaining to applicable building code requirements; and/or enhancements or
              additions to the Scope of Work requested by the Owner appropriately addressed under Article 13.

              § 3.2.4.4 Unspent Contingency. Any unspent contingency remaining as of the date of final completion shall be
              returned to the Owner by the Contractor with the remaining balance due the Owner issued as a deduct Owner Change
              Order.




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                   § 3.5          Liquidated damages, if any:
                   (Insert terms and conditions for liquidated damages, if any.)

                    $500.00 per day

                   ARTICLE 4         PAYMENT
                   § 4.1             Progress Payments
                   § 4.1.1 Based upon Applications for Payment and partial lien releases for Contractor, all subcontractors,
                   sub-subcontractors and material suppliers submitted to the Owner by the Contractor and draw request submitted by the
                   Owner, Owner shall make progress payments on account of the Contract Sum to the Contractor a.s provided below and
                   elsewhere in the Contract Documents.

                   § 4.1.2 The period covered by each Application for Payment shall be one calendar month ending on the last day of the
                   month, :

                  § 4.1.3  Provided that an Application for Payment is received by the Owner not later than the 1st day of a month, the
                  Owner shall make payment of the certified amount to the Contractor not later than the last day of the same month
                  subject to Contractor submitting required partial lien releases for prior payment and Owner approval of requested
                  percent complete progress payments, which shall not be unreasonably withheld. If an Application for Payment is
                  received by the Owner after the date fixed above or revisions to initial Application for Payment submission are
                  necessary and provided to.Owner in a timely fashion, payment shall be made by the Owner not later than thirty (30)
                  days after the Owner receives the Application for Payment


                  § 4.1.4 For each progress payment made prior to Substantial Completion of the Work, the Owner will withhold
                  retainage from the payment otherwise due as follows:



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                    Retainage amounting to ten percent (10%) of the value of each subcontractor’s work included in each progress
                    payment until Substantial Completion. At the first Application for Payment submitted after Substantial Completion
                    (as defined in section 15.6.3), retainage shall be reduced to five percent (5%) for all subcontractors and vendors.

                    No retainage will be held against Contractor’s General Conditions, Staffing, Insurance, Taxes, Overhead and Fee.

                    § 4.1.5 Payments due and unpaid under the Contract shall bear interest from the date payment is due at the rate stated
                    below, or in the absence thereof, at the legal rate prevailing from time to time at the place where the Project is located.
                    (Insert rate of interest agreed upon, ifany.)

                    prime rate plus 1



                    § 4.2 Final Payment
                    § 4.2.1 Final payment, constituting the entire unpaid balance of the Contract Sum, shall be made by the Owner to the
                    Contractor when Owner has determined that the Work has been completed and accepted by Owner
                             .1    the Contractor has fully performed the Contract except for the Contractor’s responsibility to correct
                                   Work as provided in Section 18.2, and to satisfy other requirements, if any, which extend beyond final
                                   payment;
                             .2    the Contractor has submitted a final accounting for the Cost of the Work, where payment is on the basis
                                   of the Cost of the Work with or without a Guaranteed Maximum Price; and
          I                  .3    a final Certificate of Occupancy has been delivered to the Owner by Contractor.

                    § 4.2.2 The Owner’s final payment to the Contractor shall be made no later than 30 days after the Final Payment
                    conditions above have been completed.



                   ARTICLE 5 DISPUTE RESOLUTION
                   § 5.1 Binding Dispute Resolution
                   For any claim subject to, but not resolved by, mediation pursuant to Section 21.5, the method of binding dispute
                   resolution shall be as follows:
                   (Check the appropriate box.)

      I                    [X]        Arbitration pursuant to Section 21.6 of this Agreement

                           [ ]        Litigation in a court of competent jurisdiction

                           [ ]        Other (Specify)



                    If the Owner and Contractor do not select a method of binding dispute resolution, or do not subsequently agree in
                   writing to a binding dispute resolution method other than litigation, claims will be resolved in a court of competent
                   jurisdiction.

                   ARTICLE 6    ENUMERATION OF CONTRACT DOCUMENTS
                   § 6.1 The Contract Documents are defined in Article 7 and, except for Modifications issued after execution of this
                   Agreement, are enumerated in the sections below.

                   § 6.1,1 The Agreement is this executed AIA Document AI 04tm-20 17, Standard Abbreviated Form of Agreement
                   Between Owner and Contractor.




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                      § 6.1.3                 The Supplementary and other Conditions of the Contract:

                      See attached Exhibit "C"

          I

                      § 6.1.4             The Specifications:
                      (Either list the Specifications here or refer to an exhibit attached to this Agreement.)

       I              N/A

       I

                      § 6.1.5            The Drawings:
                      (Either list the Drawings here or refer io an exhibit attached io this Agreement.)

      I               See attached Exhibit "C"

      I




                      Portions of Addenda relating to bidding or proposal requirements are not part of the Contract Documents unless the
                      bidding or proposal requirements are enumerated in this Article 6.

                     § 6.1.7               Additional documents, if any, forming part of the Contract Documents:
                                 .1     Other Exhibits:
                                      . (Check ad boxes that apply.)

                                        [X]         Exhibit A, Determination of the Cost of the Work.




                                .2    Other documents, if any, listed below:
                                (List here any additional documents that are intended to form part of the Contract Documents.)
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                                    Exhibit "B"               Proposal Form
                                    Exhibit "D"               Scope Clarificationsand Exclusion
                                    Exhibit "E"               Contractor’s Preliminary, Not for Construction Schedule and Sequence of Work
                                    Exhibit "F"               Labor Rates



                 ARTICLE                7  GENERAL PROVISIONS
                 § 7.1 T               he Contract Documents
                 The Contract Documents are enumerated in Article 6 and consist of this Agreement (including, if applicable,
                 Supplementary and other Conditions of the Contract), Drawings, Specifications, Addenda issued prior to the
                 execution of this Agreement, other documents listed in this Agreement, and Modifications issued after execution of
                 this Agreement. A Modification is (1) a written amendment to the Contract signed by both parties, (2) a Change Order,
                 (3) a Construction Change Directive, or (4) a written order for a minor change in the Work issued by the Owner. The
                 intent of the Contract Documents is to include all items necessary for the proper execution and completion of the Work
                 by the Contractor. The Contract Documents are complementary, and what is required by one shall be as binding as if
                 required by all; performance by the Contractor shall be required to the extent consistent with the Contract Documents
                 and reasonably inferable from them as being necessary to produce the indicated results.

                 § 7.2 T               he Contract
                 The Contract Documents form the Contract for Construction. The Contract represents the entire and integrated
                 agreement between the parties hereto and supersedes prior negotiations, representations, or agreements, either written
                 or oral. The Contract may be amended or modified only by a Modification. The Contract Documents shall not be
                 construed to create a contractual relationship of any kind between any persons or entities other than the Owner and the
                 Contractor,

                 § 7,3 T               he Work
                The term "Work" means the construction and services required by the Contract Documents, whether completed or
                partially completed, and includes all other labor, materials, equipment, and services provided or to be provided by the
                Contractor to fulfill the Contractor’s obligations. The Work may constitute the whole or a part of the Project,

                § 7,4 I                nstruments of Service
                Instruments of Service are representations, in any medium of expression now known or later developed, of the tangible
                and intangible creative work performed by the Contractor and Contractor’s consultants under their respective
                professional services agreements. Instruments of Service may include, without limitation, studies, surveys, models,
                sketches, drawings, specifications, and other similar materials,

                § 7,5 O               wnership and use of Drawings, Specifications and Other Instruments of Service
                § 7,5,1 The Contractor and Contractor’s consultants shall be deemed the authors and owners of their respective
                Instruments of Service, including the Drawings and Specifications, and will retain all common law, statutory and other
                reserved rights in their Instruments of Service, including copyrights. The Subcontractors, Sub-subcontractors, and
                suppliers shall not own or claim a copyright in the Instruments of Service, Submittal or distribution to meet official
                regulatory requirements or for other purposes in connection with the Project is not to be construed as publication in
                derogation of the Contractor’s or Contractor’s consultants’ reserved rights,

                § 7.5.2 The Contractor, Subcontractors, Sub-subcontractors and suppliers are authorized to use and reproduce the
                Instruments of Service provided to them, subject to the protocols established pursuant to Sections 7.6 and 7.7, solely
                and exclusively for execution of the Work. All copies made under this authorization shall bear the copyright notice, if
                any, shown on the Instruments of Service. The Contractor, Subcontractors, Sub-subcontractors, and suppliers may not
                use the Instruments of Service on other projects or for additions to this Project outside the scope of the Work without
                the specific written consent of the Owner, Contractor and Contractor’s consultants.

                § 7.6 Digital Data Use and Transmission
                The parties shall agree upon protocols governing the transmission and use of Instruments of Service or any other
                information or documentation in digital form.


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                (Paragraphs deleted)
                § 7.8        Severability
                The invalidity of any provision of the Contract Documents shall not invalidate the Contract or its remaining
                provisions. If it is determined that any provision of the Contract Documents violates any law, or is otherwise invalid or
                unenforceable, then that provision shall be revised to the extent necessary to make that provision legal and
                enforceable. In such case the Contract Documents shall be construed, to the fullest extent permitted by law, to give
                effect to the parties’ intentions and purposes in executing the Contract.

                § 7.9        Notice
                § 7.9.1 Except as otherwise provided in Section 7.9.2, where the Contract Documents require one party to notify or
                give notice to the other party, such notice shall be deemed mandatory, non-waivable and an absolute precondition to
                the relief sought by the party required to provide notice, and provided in writing to the designated representative of the
                party to whom the notice is addressed and shall be deemed to have been duly served if delivered in person, by mail, by
                courier, by certified or registered mail providing proof of delivery or by electronic transmission




                (Paragraph deleted)
                § 7.9.2 Notice of Claims shall be provided in writing as set forth in §7.9.1, above, and shall be deemed duly served
                only if delivered to the designated representative of the party to whom the notice is being addressed only if served by
                certified or registered mail or by courier with proof of delivery or by overnight delivery with record of delivery. A
                party may provide electronic notice, which will be effective upon receipt if such is also delivered by one of the
                methods above.


               § 7.10       Relationship of the Parties
               Where the Contract is based on the Cost of the Work plus the Contractor’s Fee, with or without a Guaranteed
               Maximum Price, the Contractor accepts the relationship of trust and confidence established by this Agreement and
               covenants with the Owner to cooperate with the Architect and exercise the Contractor’s skill and judgment in
               furthering the interests of the Owner; to furnish efficient business administration and supervision; to furnish at all
               times an adequate supply of workers and materials; and to perform the Work in an expeditious and economical manner
               consistent with the Owner’s interests. The Owner agrees to furnish and approve, in a timely manner, information
               required by the Contractor and to make payments to the Contractor in accordance with the requirements of the
               Contract Documents.

               ARTICLE 8 OWNER
               § 8.1      Information and Services Required of the Owner
               § 8.1.1 Prior to commencement of the Work, at the written request by the Contractor, the Owner shall furnish to the
               Contractor reasonable evidence that the Owner has made financial arrangements to fulfill the Owner’s obligations
               under the Contract. The Contractor shall have no obligation to commence the Work until the Owner provides such
               evidence. If commencement of the Work is delayed under this Section 8.1.1, the Contract Time shall be extended
               appropriately.

               § 8.1.2          The Owner shall furnish all necessary surveys and a legal description of the site upon request of the Contractor.

               § 8.1.3 The Contractor shall be entitled to rely on the accuracy of information furnished by the Owner but shall
               exercise proper precautions relating to the safe performance of the Work.

               § 8.1.4 Except for permits and fees that are the responsibility of the Contractor under the Contract Documents,
               including those required under Section 9.6.1, the Owner shall secure and pay for other necessary approvals,
               easements, assessments, and charges required for the construction, use, or occupancy of permanent structures or for
               permanent changes in existing facilities. All of the above shall be approved and/or secured as a condition precedent to
               Owner’s issuance of Notice to Proceed.
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                § 8.2 Owner’s Right to Stop the Work
                If the Contractor fails to correct Work which is not in accordance with the requirements of the Contract Documents, or
                repeatedly fails to cari^ out the Work in accordance with the Contract Documents, the Owner may issue a written
                order to the Contractor to stop the Work, or any portion thereof, until the cause for such order is eliminated; however,
                the right of the Owner to stop the Work shall not give rise to a duty on the part of the Owner to exercise this right for
                the benefit of the Contractor or any other person or entity.

                § 8.3 Owner’s Right to Carry Out the Work
                If the Contractor defaults or neglects to cany out the Work in accordance with the Contract Documents, and fails
                within a ten-day period after receipt of notice from the Owner to commence and continue correction of such default or
                neglect with diligence and promptness, the Owner may, without further notice and without prejudice to any other
                remedies the Owner may have, correct such default or neglect. The Owner may, pursuant to Section 15.4.3, withhold
                or nullify a Certificate for Payment in whole or in part, to the extent reasonably necessaiy to reimburse the Owner for
                the reasonable cost of correcting such deficiencies, including the Owner’s expenses and compensation for an
                Architect’s services made necessai7 by such default, neglect, or failure. If the Contractor disagrees with the actions of
                the Owner, or the amounts claimed as costs to the Owner, the Contractor may file a Claim pursuant to Article 21.

                ARTICLE 9    CONTRACTOR
                § 9.1 Review of Contract Documents and Field Conditions by Contractor
                § 9.1.1 Execution of the Contract by the Contractor is a representation that the Contractor has visited the site, become
                generally familiar with local conditions under which the Work is to be performed and correlated personal observations
                with requirements of the Contract Documents.

                (Paragraph deleled)
                § 9.1.2 Because the Contract Documents are complementary, the Contractor shall, before commencing on-site Work
               and before starting each portion of the Work, carefully study and compare the various Contract Documents relative to
               the site and that portion of the Work, as well as the information furnished by the Owner pursuant to Section 8.1.2, shall
               take field measurements of any existing conditions related to that portion of the Work and shall observe any conditions
               at the site affecting it. These obligations are for the purpose of facilitating coordination and construction by the
               Contractor and are not for the purpose of discovering errors, omissions, or inconsistencies in the Contract Documents;
               however. The Contractor shall promptly report to the Owner any errors, inconsistencies, or omissions discovered by or
               made known to the Contractor as a request for information in such form as the Owner may require. It is recognized
               that the Contractor’s review is made in the Contractor’s capacity as a contractor and not as a licensed design
               professional unless otherwise specifically provided in the Contract Documents, Contractor’s proceeding with the
               Work or such portions of it as are designated in this Section shall constitute a representation by the Contractor that it
               has made a reasonable inspection and has satisfied itself that the Work can be performed consistent with the Contract
               Documents.

               § 9.1.3 The Contractor is not required to ascertain that the Contract Documents are in accordance with applicable laws,
               statutes, ordinances, codes, rules and regulations, or lawful orders of public authorities, but the Contractor shall
               promptly report to the Owner any nonconformity discovered by or made known to the Contractor as a request for
               information in such form as the Owner may require. Notwithstanding the preceding sentence. Contractor shall
               perform its Work consistent with and in accordance with applicable laws, ordinances, codes, rules and regulations as
               well as with all applicable industry standards set forth in the Plans and Specifications pertaining to the construction.

               § 9.2    Supervision and Construction Procedures
               § 9.2.1 The Contractor shall supervise and direct the Work, using the Contractor’s best skill and attention. Contractor
               shall assign a full time, qualified superintendent to oversee the Work, who shall be present at all times when
               Contractor’s forces or those of its subcontractors are present. The Contractor shall be solely responsible for and have
               control over construction means, methods, techniques, sequences, and procedures, and for coordinating all portions of
               the Work under the Contract, unless the Contract Documents give other specific instructions concerning these matters.

               § 9.2.2 The Contractor shall be responsible to the Owner for acts and omissions of the Contractor’s employees,
               .Subcontractors and their agents and employees, and other persons or entities performing portions of the Work for or on
               behalf of the Contractor or any of its Subcontractors.


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               § 9.3      Labor and Materials
               § 9,3. 1 Unless otherwise provided   in the Contract Documents, the Contractor shall provide and pay for labor,
               materials, equipment, tools, construction equipment and machinery, transportation, and other facilities and services
               necessary for proper execution and completion of the Work whether temporary or permanent and whether or not
               incorporated or to be incorporated in the Work.

               § 9.3. 2  The Contractor shall enforce strict discipline and good order among the Contractor’s employees and other
               persons carrying out the Work. 1'he Contractor shall not permit employment of unfit persons or persons not skilled in
               tasks assigned to them. Contractor shall require its forces and those of its subcontractors to comply with all worksite
               requirements of the Owner and shall protect Owner’s property from damage during the performance of the Work.

               § 9.3. 3The Contractor may make a substitution only with the consent of the Owner and in accordance with a
               Modification.

               § 9.4          Warranty
               The Contractor warrants to the Owner that materials and equipment furnished under the Contract will be of good
               quality and new unless the Contract Documents require or permit otherwise. The Contractor further warrants that the
               Work will conform to the requirements of the Contract Documents and will be free from defects, except for those
               inherent in the quality of the Work the Contract Documents require or permit for a period of one year from the Date of
               Substantial Completion. Work, materials, or equipment not conforming to these requirements may be considered
               defective. The Contractor’s warranty excludes remedy for damage or defect caused by abuse, alterations to the Work
               not executed by the Contractor, improper or insufficient maintenance, improper operation or normal wear and tear
               under normal usage. All other warranties required by the Contract Documents shall be issued in the name of the
               Owner, or shall be transferable to the Owner, and shall commence in accordance with Section 15.6.3.

               § 9.5         Taxes
               The Contractor shall pay sales, consumer, use, and other similar taxes that are legally enacted when bids are received
               or negotiations concluded, whether or not yet effective or merely scheduled to go into effect.

               § 9.6         Permits, Fees, Notices, and Compliance with Laws
               § 9.6.1 Unless otherwise provided in the Contract Documents, the Contractor shall secure and pay for the building
               permit as well as other permits, fees, licenses, and inspections by government agencies necessary for proper execution
               and completion of the Work that are customarily secured after execution of the Contract and legally required at the
               time bids are received or negotiations concluded.

               § 9.6.2  The Contractor shall comply with and give notices required by applicable laws, statutes, ordinances, codes,
               rules and regulations, and lawful orders of public authorities applicable to performance of the Work. If the Contractor
               performs Work knowing it to be contrary to applicable laws, statutes, ordinances, codes, rules and regulations, or
               lawful orders of public authorities, the Contractor shall assume appropriate responsibility for such Work and shall bear
               the costs attributable to correction.

               § 9.7         Allowances
              The Contractor shall include in the Contract Sum all allowances stated in the Contract Documents. The Owner shall
              select materials and equipment under allowances with reasonable promptness. Allowance amounts shall include the
              costs to the Contractor of materials and equipment delivered at the site and all required taxes, less applicable trade
              discounts. Contractor’s costs for unloading and handling at the site, labor, installation, overhead, profit, and other
              expenses contemplated for stated allowance amounts shall be included in the Contract Sum but not in the allowance.
              Unused portions of Owner Allowances will be returned to the Owner as a deduct change order les.s the value of the
              Contractor’s Fee.

              § 9.8          Contractor’s Construction Schedules
              § 9.8.1 The Contractor, promptly after being awarded the Contract, shall submit for the Owner’s information a
              Contractor’s construction schedule for the Work. The schedule shall not exceed time limits current under the Contract
              Documents, shall be revised at appropriate intervals as required by the conditions of the Work and Project, shall be
              related to the entire Project to the extent required by the Contract Documents, and shall provide for expeditious and
              practicable execution of the Work. In the event of any delays to the project schedule which are not subject to a time
              extension or otherwise excusable under the terms of the Contract, the Contractor shall promptly provide upon request
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                  by the Owner or the Construction Manager a make-up schedule providing for completion at Contractor’s cost, of the
                  work within the Contract duration.

                  § 9.8.2The Contractor shall perform the Work in general accordance with the most recent schedule submitted to the
                  Owner at time of Notice to Proceed and as adjusted thereafter by contract progress and ! or modification.

                  § 9.9 Submittals
                  § 9.9.1 The Contractor   shall review for compliance with the Contract Documents and submit in a timely fashion with
                  sufficient time for review without affecting the Project Schedule, to the Owner Shop Drawings, Product Data,
                  Samples, and similar submittals required by the Contract Documents together with any requests for information, in
                  coordination with the Contractor’s construction schedule and in such sequence as to allow the Ownerreasonable time
                  for review. Contractor shall identify all long lead material or equipment and shall include such lead times within its
                  Project Schedule. By submitting Shop Drawings, Product Data, Samples, and similar submittals, the Contractor
                  represents to the Owner that the Contractor has (I) reviewed and approved them; (2) determined and verified
                  materials, field measurements, and field construction criteria related thereto, or will do so; and (3) checked and
                  coordinated the information contained within such submittals with the requirements of the Work and of the Contract
                  Documents. The Work shall be in accordance with approved submittals. In the event that Contractor issues a submittal
                  for the Owner review that proposes changes from the Contract Documents, Contractor shall advise and identify any
                  such deviations as part of the submittal and shall provide any information requested by the Owner to support the
                  request for approval of such submittal.

                  § 9.9.2    Shop Drawings, Product Data, Samples and similar submittals are not Contract Documents.

                 § 9.9.3 The Contractor shall not be required to provide professional services that constitute the practice of architecture
                 or engineering unless such services are specifically required by the Contract Documents or unless the Contractor
                 needs to provide such services in order to carry out the Contractor’s own responsibilities. If professional design
                 services or certifications by a design professional are specifically required by the Contract Documents, the Owner will
                 specify the performance and design criteria that such services must satisfy. The Contractor shall cause such services or
                 certifications to be provided by an appropriately licensed design professional. If no criteria are specified, the design
                 shall comply with applicable codes and ordinances. Each Party shall be entitled to rely upon the information provided
                 by the other Party. The Owner will review and approve or take other appropriate action on submittals for the limited
                 purpose of checking for conformance with information provided and the design concept expressed in the Contract
                 Documents. The Owner’s review of Shop Drawings, Product Data, Samples, and similar submittals shall be for the
                 limited purpose of checking for conformance with information given and the design concept expressed in the Contract
                 Documents. In performing such review, the Owner will approve, or take other appropriate action upon, the
                 Contractor’s Shop Drawings, Product Data, Samples, and similar submittals.

                 § 9.10 Use of Site
                 The Contractor shall confine operations at the site to areas permitted by applicable laws, statutes, ordinances, codes,
                 rules and regulations, lawful orders of public authorities, and the Contract Documents and shall not unreasonably
                 encumber the site with materials or equipment. The Contractor shall observe all site use limitations and restrictions as
                 may be required by the Landlord and shall not interfere with Landlord’s use of its property.

                 § 9.11 Cutting and Patching
                 The Contractor shall be responsible for cutting, fitting, or patching required to complete the Work or to make its parts
                 fit together properly.

                 § 9.12 Cleaning Up
                 The Contractor shall keep the premises and surrounding area free from accumulation of waste materials and rubbish
                 caused by operations under the Contract. At completion of the Work, the Contractor shall remove waste materials,
                 rubbish, the Contractor’s tools, construction equipment, machinery, and surplus material from and about the Project.

                 § 9.13 Access to Work
                 The Contractor shall provide the Owner, the Landlord with access to the Work in preparation and progress wherever
                 located.



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                § 9.14 Royalties, Patents and Copyrights
                The Contractor shall pay all royalties and license fees. The Contractor shall defend suits or claims for infringement of
                copyrights and patent rights and shall hold the Owner harmless from loss on account thereof, but shall not be
                responsible for defense or loss when a particular design, process, or product of a particular manufacturer or
                manufacturers is required by the Contract Documents or where the copyright violations are contained in Drawings,
                Specifications or other documents prepared by the Owner . However, if an infringement of a copyright or patent is
                discovered by, or made known to, the Contractor, the Contractor shall be responsible for the loss unless the
                information is promptly furnished to the Owner.

               § 9.15 Indemnification
               § 9.15.1 To the fullest e.xtent  permitted by law, the Contractor shall indemnify and hold harmless the Owner, Landlord
               , and agents and employees of any of them from and against claims, damages, losses and expenses, including but not
               limited to attorneys’ fees, arising out of or resulting from performance of the Work, provided that such claim, damage,
               loss, or expense is attributable to bodily injury, sickness, disease or death, or to injury to or destruction of tangible
               property (other than the Work itself), but only to the extent caused by the negligent acts or omissions of the Contractor,
               a Subcontractor, anyone directly or indirectly employed by them, or anyone for whose acts they may be liable,
               regardless of whether or not such claim, damage, loss, or expense is caused in part by a party indemnified hereunder.
               Such obligation shall not be construed to negate, abridge, or reduce other rights or obligations of indemnity which
               would otherwise exist as to a party or person described in this Section 9.15.1.

               § 9.15.2   In claims against any person or entity indemnified under this Section 9.15 by an employee of the Contractor,
               a Subcontractor, anyone directly or indirectly employed by them, or anyone for whose acts they may be liable, the
               indemnification obligation under Section 9.15.1 shall not be limited by a limitation on amount or type of damages,
               compensation or benefits payable by or for the Contractor or Subcontractor under workers’ compensation acts,
               disability benefit acts or other employee benefit acts.

               § 9.15.3 To the fullest extent permitted by law, the Contractor shall indemnify and hold harmless the Owner, Landlord
               and its agents and employees of any of them from and against claims, damages, losses and expenses, including but not
               limited to attorneys’ fees, arising out any claims by its subcontractors or suppliers for payment for work, services ,
               labor materials or equipment provided to the Contractor for the performance of the Work under this Contract where
               Owner has paid Contractor for such work, services, labor, materials or equipment or where such is being sought as
               extra or changed work on the part of the subcontractor or supplier which has not been subject of a Change Order or
               Change Directive issued under Article 13, or a Claim, as issued under Chapter 21, of this Contract.


               ARTICLE 10          OWNER AS CONTRACT ADMINISTRATOR
               § 10.1 The Owner will provide administration of the Contract as described in the Contract Documents



               (Paragraph deleted)
               § 10.3 The Owner will visit the site at intervals appropriate to the stage of the construction to become generally
               familiar with the progress and quality of the portion of the Work completed, and to determine in general, if the Work
               observed is being performed in a manner indicating that the Work, when fully completed, will be in accordance with
               the Contract Documents. However, the Owner will not be required to make exhaustive or continuous on-site
               inspections to check the quality or quantity of the Work. The Owner will not have control over, charge of, or
               responsibility for the construction means, methods, techniques, sequences, or procedures, or for safety precautions and
               programs in connection with the Work, since these are solely the Contractor’s rights and responsibilities under the
               Contract Documents.

               § 10.4  On the basis of the site visits, the Owner will be reasonably informed about the progress and quality of the
               portion of the Work completed, and promptly report to the Contractor (1) known deviations from the Contract
               Documents, (2) known deviations from the most recent construction schedule submitted by the Contractor, and (3)
               defects and deficiencies observed in the Work, The Owner will not be responsible for the Contractor’s failure to
               perform the Work in accordance with the requirements of the Contract Documents. The Owner will not have control
               over or charge of and will not be responsible for acts or omissions of the Contractor, Subcontractors, or their agents or
               employees, or any other persons or entities performing portions of the Work.
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               § 10.5 Based on the Owner’s evaluations of the Work and of the Contractor’s Applications for Payment, the Owner
               will review and certify the amounts due the Contractor and will issue Payment in such amounts.

               § 10.6 The Owner has the authority to reject Work that does not conform to the Contract Documents and to require
               inspection or testing of the Work.

               § 10.7 The Owner will review and approve or take other appropriate action upon, the Contractor’s submittals such as
               Shop Drawings, Product Data, and Samples, but only for the limited purpose of checking for conformance with
               information given and the design concept expressed in the Contract Documents.



               (Paragraph deleted)
               § 10.9 The Owner’s decisions on matters relating to aesthetic effect will be final if consistent with the intent expressed
               in the Contract Documents.

               ARTICLE 11           SUBCONTRACTORS
               § 11.1 A Subcontractor is a person or entity who has a direct contract with the Contractor to perform a portion of the
               Work at the site.

               § 11.2 Unless otherwise stated in the Contract Documents, the Contractor, as soon as practicable after award of the
               Contract, shall notify the Owner of the Subcontractors or suppliers proposed for each of the principal portions of the
               Work. The Contractor shall not contract with any Subcontractor or supplier to whom the Owner has made reasonable
               written objection within five days after receipt of the Contractor’s list of Subcontractors and suppliers. If the proposed
               but rejected Subcontractor was reasonably capable of performing the Work, the Contract Sum and Contract Time shall
               be increased or decreased by the difference, if any, occasioned by such change, and an appropriate Change Order shall
               be issued before commencement of the substitute Subcontractor’s Work. The Contractor shall not be required to
               contract with anyone to whom the Contractor has made reasonable objection.

               § 11.3 Contracts between the Contractor and Subcontractors shall (1) require each Subcontractor, to the extent of the
               Work to be performed by the Subcontractor, to be bound to the Contractor by the terms of the Contract Documents,
               and to assume toward the Contractor all the obligations and responsibilities, including the responsibility for safety of
               the Subcontractor’s Work, which the Contractor, by the Contract Documents, assumes toward the Owner, and (2)
               allow the Subcontractor the benefit of all rights, remedies and redress against the Contractor that the Contractor, by
               these Contract Documents, has against the Owner.

               § 11.4 Upon request by Owner through the Construction Manager, Contractor shall provide copies of subcontractor
               certificates of insurance to the Owner and shall require subcontractors to add the Owner, its Designee, and/or
               Landlord to the policies as "additional insureds" with primary and non-contributory coverage.

               § 11.5 For any trade requiring a government issued license or registration, Contractor shall only engage licensed or
               registered subcontractors to perform that Work.

               ARTICLE 12               CONSTRUCTION BY OWNER OR BY SEPARATE CONTRACTORS
               § 12.1 The term "Separate Contractor(s)” shall mean other contractors retained by the Owner under separate
               agreements. The Owner reserves the right to perform construction or operations related to the Project with the
               Owner’s own forces, and with Separate Contractors retained under Conditions of the Contract substantially similar to
               those of this Contract, including those provisions of the Conditions of the Contract related to insurance and waiver of
               subrogation.

               § 12.1.1 The parties understand and agree that the Owner will engage contractors to perform separate work functions.
               Contractor shall provide for and allow staging and access to the site for their work as set for the below and shall
               include their work within the Project Schedule and coordinate the scheduling of such separate contractors.




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               § 12.2 The Contractor shall afford the Owner and Separate Contractors reasonable opportunity for introduction and
               storage of their materials and equipment and performance of their activities, and shall connect and coordinate the
               Contractor’s activities with theirs as required by the Contract Documents.

               § 12.3 The Owner shall be reimbursed by the Contractor for costs incurred by the Owner which are payable to a
               Separate Contractor because of delays, improperly timed activities, or defective construction of the Contractor. The
               Owner shall be responsible to the Contractor for costs incurred by the Contractor because of delays, improperly timed
               activities, damage to the Work, or defective construction of a Separate Contractor.

               ARTICLE 13                    CHANGES IN THE WORK
               § 13.1 By appropriate Modification, changes in the Work may be accomplished after execution of the Contract. The
               Owner, without invalidating the Contract, may order changes in the Work within the general scope of the Contract
               consisting of additions, deletions, or other revisions, with the Contract Sum and Contract Time being adjusted
               accordingly. Such changes in the Work shall be authorized by written Change Order signed by the Owner, and
               Contractor or by written Construction Change Directive signed by the Owner. Upon issuance of the Change Order or
               Construction Change Directive, the Contractor shall proceed promptly with such changes in the Work, unless
               otherwise provided in the Change Order or Construction Change Directive. A signed Change Order shall be deemed
               final for all changed, added or deleted Work and all schedule impacts associated with the described Work.

               § 13.2   Adjustments in the Contract Sum and Contract Time resulting from a change in the Work shall be determined
               by mutual agreement of the parties or, in the case of a Construction Change Directive signed only by the Owner, by
               the Contractor’s cost of labor, material, equipment, and reasonable overhead and profit, unless the parties agree on
               another method for determining the cost or credit. Pending final determination of the total cost of a Construction
               Change Directive, the Contractor may request partial payment for Work completed pursuant to the Construction
               Change Directive. The Owner will make an interim determination of the amount of payment due for purposes of
               certifying the Contractor’s monthly Application for Payment. When the Owner and Contractor agree on adjustments
               to the Contract Sum and Contract Time arising from a Construction Change Directive, the Contractor will prepare a
               Change Order for Owner Review and Approval. Such approval shall not be unreasonably withheld. Failure to agree
               upon a price for increased or decreased cost, or a dispute over whether or not the disputed work is changed or within
               Contractor’s scope of work under this Contract shall not excuse the Contractor from performing as directed and the
               parties reserve the right to file a Claim under the terms of this Contract.

               § 13.3 The Owner will have authority to order minor changes in the Work not involving adjustment in the Contract
               Sum or extension of the Contract Time and not inconsistent with the intent of the Contract Documents. Such changes
               shall be effected by written order and shall be binding on the Owner and Contractor. The Contractor shall carry out
               such written orders promptly. If the Contractor believes that the proposed minor change in the Work will affect the
               Contract Sum or Contract Time, the Contractor shall notify the Owner and shall not proceed to implement the change
               in the Work until it receives a written directive, at which time it shall promptly proceed with the identified Work even
               if there is disagreement as to the cost or time impact, which shall be addressed through a Claim as set for the herein.

               § 13.4 If concealed or unknown physical conditions are encountered at the site that differ materially from those
               indicated in the Contract Documents or from those conditions ordinarily found to exist, the Contract Sum and Contract
               Time shall be equitably adjusted as mutually agreed between the Owner and Contractor; provided that the Contractor
               provides notice to the Owner promptly and before conditions are disturbed.

               ARTICLE 14                   TIME
               § 14.1 Time limits stated in the Contract Documents are of the essence of the Contract. By executing this Agreement
               the Contractor confirms that the Contract Time is a reasonable period for performing the Work.

               § 14.2 Unless otherwise provided. Contract Time is the period of time, including authorized adjustments, allotted in
               the Contract Documents for Substantial Completion of the Work.

               § 14.3 The term "day" as used in the Contract Documents shall mean calendar day unless otherwise specifically
               defined.

               § 14.4             The date of Substantial Completion is the date certified by the Owner in accordance with Section 15.6.3.


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                 § 14.5   If the Contractor is delayed at any time in the commencement or progress of the Work by (1) changes ordered in
                 the Work; (2) by labor disputes, fire, unusual delay in deliveries, abnormal adverse weather conditions not reasonably
                 anticipatable, unavoidable casualties, or any causes beyond the Contractor’s control; or (3) by other causes that the
                 Contractor asserts, and the Owner determines, justify delay, then the Contract Time shall be extended for such
                 reasonable time as the Owner and Contractor may mutually determine, subject to the provisions of Article 21. The
                 extension of time shall be the exclusive remedy for the contractor and under no circumstance,s shall owner be subject
                 to increased costs to the Contractoi-associated with any such delays, unless Owner, its agents or representatives, the
                 Government or Landlord caused the delay


                 § 14.6 COVlD-19. The Owner and Contractor acknowledge the present and ongoing circumstances regarding the
                 novel coronavirus / COVID-19 pandemic ("COVlD-19''). The Contractor represents to the Owner that it has
                 considered and planned for the Work under these present conditions, and agrees to perform it for the Contract Sum and
                 within the Contract Time - subject to adjustments as provided in this Agreement for non-COVID-I9 changes, if any -
                 based on information currently reasonably available concerning COVID-19, including but not limited to relevant
                 health and safety regulations and restrictions. In the event the Contractor contends that changes after the date of this
                 Agreement to the COVID-l9-related laws, rules, orders, regulations, or directions by any governmental authority with
                jurisdiction over the Project will impact the Work, including any potential savings or schedule expediting, the
                Contractor will immediately notify the Owner in writing with a description of the potential impacts and the Contract
                Time and Contract Sum will be equitably adjusted for such changes to the COVID-19-related laws, rules, orders,
                regulations, or directions. Additionally, if a Subcontractor, Sub-subcontractor or supplier must cease operations or
                otherwise cannot progress its work a.s anticipated due to the impacts of COVID-19, such resulting delay to the progress
                of the Work shall be considered a Force Majeure Delay.

                 In order to assure that the Contractor and its subcontractors are adhering to CDC guidelines and the directions by local
                 health officials, the Owner and Contractor hereby agree to act together in good faith to address the requirements of the
                 situation including, but not limited to, any need to review the Project schedule, create a logistics plan, or other special
                jobsite procedures. Notwithstanding the foregoing, the Contractor shall be solely responsible for implementing these
                 procedures in addition to its already existing health and safety requirements. The Contractor shall report to the Owner
                weekly during the pendency of the COVID-19 pandemic on the jobsite conditions and the Contractor’s ongoing
                efforts to ensure compliance with these measures. Notwithstanding the foregoing, the Owner will not have any control
                over the Contractor’s means and methods of construction.


                ARTICLE 15    PAYMENTS AND COMPLETION
                § 15.1        Schedule of Values
                § 15.1.1 Where the Contract is based on a Stipulated   Sum or the Cost of the Work with a Guaranteed Maximum Price
                pursuant to Section 3.2 or 3.4, the Contractor shall submit a schedule of values to the Owner before the first
                Application for Payment, allocating the entire Stipulated Sum or Guaranteed Maximum Price to the various portions
                of the Work. The schedule of values shall be prepared in the form, and supported by the data to substantiate its
                accuracy required by the Owner. This schedule of values shall be used as a basis for reviewing the Contractor’s
                Applications for Payment.

                § 15.1.2 The allocation of the Stipulated Sum or Guaranteed Maximum    Price Cost of the Work under this Section 15.1
                shall not constitute a separate stipulated sum or guaranteed maximum price for each individual line item in the
                schedule of values.




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                (Paragraphs deleted)
                § 15.2.4 The Contractor shall develop and implement a detailed system of cost control that will provide the Owner
                with timely information as to the anticipated total Cost of the Work. The cost control system shall compare the
                Stipulated Sum Price cost breakdown (Exhibit "B") with the actual cost for activities in progress and estimates for
                uncompleted tasks and proposed changes. This information shall be reported to the Owner, in writing, no later than the
                Contractor’s first Application for Payment and shall be revised and submitted with each Application for Payment.



                (Paragraph deleted)
                § 15.3      Applications for Payment
                § 15.3.1 On the first business day of each month, the Contractor shall submit to the Owner an itemized Application for
                Payment prepared in accordance with the schedule of values, if required under Section 15.1, for completed portions of
                the Work. The application shall be notarized, if required; be supported by all data substantiating the Contractor’s right
                to payment that the Owner require, including all subcontractor work and invoices for work encompassed within the
                application; shall reflect retainage if provided for in the Contract Documents; and include any revised cost control
                information required by Section 15.2.4. Applications for Payment shall not include requests for payment for portions
                of the Work for which the Contractor does not intend to pay a Subcontractor or supplier, unles.s such Work has been
                performed by others whom the Contractor intends to pay. Contractor shall provide lien waivers with each application
                for payment, including for progress and final applications.

                § 15.3.2 With each Application for Payment where the Contract Sum is based upon the Cost of the Work, or the Cost of
               the Work with a Guaranteed Maximum Price, the Contractor shall submit, petty cash accounts, receipted invoices or
               invoices with check vouchers attached, and any other evidence required by the Owner to demonstrate that cash
               disbursements already made by the Contractor on account of the Cost of the Work equal or exceed progress payments
               already received by the Contractor for the period covered by the present Application for Payment, less that portion of the
               progress payments attributable to the Contractor’s Fee.

               § 15.3.3 Payments shall be made on account of materials and equipment delivered and suitably stored at the site for
               subsequent incorporation in the Work. If approved in advance by the Owner, payment may similarly be made for
               materials and equipment stored, and protected from damage, off the site at a location agreed upon in writing.

               § 15.3.4 The Contractor warrants that title to all Work covered by an Application for Payment will pass to the Owner
               no later than the time of payment. The Contractor further warrants that upon submittal of an Application for Payment
               all Work for which Certificates for Payment have been previously issued and payments received from the Owner shall,
               to the best of the Contractor’s knowledge, information and belief, be free and clear of liens, claims, security interests
               or other encumbrances adverse to the Owner’s interests.

               § 15.4      Certificates for Payment
               § 15.4.1 The Owner will, within seven days after receipt of the Contractor’s Application for Payment, either issue a
               Certificate for Payment to the Contractor, for such amount as the Owner determines is properly due, or notify the
               Contractor of the Owner’s reasons for withholding certification in whole or in part as provided in Section 15.4.3. No
               certificate for payment shall be effective unless and until the Contractor shall provide for itself and for subcontractors
               performing work or primary suppliers providing materials or equipment encompassed within the payment application
               a waiver and release of lien for prior work performed or materials and equipment provided and for the work, materials
               and equipment in the payment application, subject only to Owner’s payment of the instant application.

               § 15.4.2 The issuance of a Certificate for Payment will constitute a representation by the Owner, based on the
               Owner’s evaluations of the Work and the data in the Application for Payment, that, to the best of the Owner’s
               knowledge, information, and belief, the Work has progressed to the point indicated, the quality of the Work i,s in
               accordance with the Contract Documents, and the Contractor is entitled to payment in the amount certified. Following
               review of a Payment Application, the Owner will identify the amount of the Application which is approved and
               provide Notice to the Contractor of any disapproved sums no later than twenty (20) days after receipt of the
               Application by it or its designee. The foregoing representations are subject to an evaluation of the Work for
               conformance with the Contract Documents upon Substantial Completion, to results of subsequent tests and
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                 inspections, to correction of minor deviations from the Contract Documents prior to completion and to specific
                 qualifications expressed by the Owner. However, the issuance of a Certificate for Payment will not be a representation
                 that the Owner has (1) made exhaustive or continuous on-site inspections to check the quality or quantity of the Work;
                 (2) reviewed construction means, methods, techniques, sequences, or procedures; (3) reviewed copies of requisitions
                 received from Subcontractors and suppliers and other data requested by the Owner to substantiate the Contractor’s
                 right to payment; or (4) made examination to ascertain how or for what purpose the Contractor has used money
                 previously paid on account of the Contract Sum.

                 § 15.4.3 The Owner may withhold a Certificate for Payment in whole or in part, to the extent reasonably necessaiy to
                 protect the Owner, if in the Owner’s opinion the representations to the Owner required by Section 15.4.2 cannot be
                 made. If the Owner is unable to certify payment in the amount of the Application, the Owner will notify the
                 Contractor as provided in Section 15.4.1. If the Contractor and the Owner cannot agree on a revised amount, the
                 Owner will promptly issue a Certificate for Payment for the amount for which the Owner is able to make such
                 representations . The Owner may also withhold a Certificate for Payment or, because of subsequently discovered
                 evidence, may nullify the whole or a part of a Certificate for Payment previously issued, to such extent as may be
                 necessary in the Owner’s opinion to protect the Owner from loss for which the Contractor is responsible, including
                 loss resulting from acts and omissions described in Section 9.2.2, because of
                           .1    defective Work not remedied;
                           .2    third-party claims filed or reasonable evidence indicating probable filing of such claim,s unless security
                                 acceptable to the Owner is provided by the Contractor;
                           .3    failure of the Contractor to make payments properly to Subcontractors or suppliers for labor, materials
                                 or equipment;
                          .4     reasonable evidence that the Work cannot be completed for the unpaid balance of the Contract Sum;
                           .5    damage to the Owner, Landlord or a Separate Contractor;
                          .6     reasonable evidence that the Work will not be completed within the Contract Time and that the unpaid
                                 balance would not be adequate to cover actual or liquidated damages for the anticipated delay; or
                          .7    repeated failure to carry out the Work in accordance with the Contract Documents.
                          .8    the filing of any lien by a subcontractor or supplier to the Contractor or to a subcontractor of the
                          Contractor on work previously paid for by or on behalf of the Owner or for work not subject to an approved
                          change order by the Owner.
                          .9     rejection by the landlord or lender of Work in place encompassed within the application.

                § 15.4.4 When the Contractor disputes the Owner’s decision regarding a Certificate for Payment under Section
                15.4.3, in whole or in part, that party may submit a Claim in accordance with Article 21.

                § 15.5          Progress Payments
                § 15.5.1 The Contractor shall pay each Subcontractor, no later than seven days after receipt of payment from the
                Owner, the amount to which the Subcontractor is entitled, reflecting percentages actually retained from payments to
                the Contractor on account of the Subcontractor’s portion of the Work. The Contractor shall, by appropriate agreement
                with each Subcontractor, require each Subcontractor to make payments to sub-subcontractors in a similar manner.

                § 15.5.2 The Owner shall not have an obligation to pay or see to the payment of money to a Subcontractor or supplier
                except as may otherwise be required by law.

                § 15.5.3 A progress payment, or partial or entire use or occupancy of the Project by the Owner shall not constitute
                acceptance of Work not in accordance with the Contract Documents.

                § 15.5.4 Provided the Owner has fulfilled its payment obligations with respect to the work that is subject to a filed lien
                under the Contract Documents, the Contractor shall defend and indemnify the Owner from all loss, liability, damage
                or expense, including reasonable attorney’s fees and litigation expenses, arising out of any lien claim or other claim for
                payment by any Subcontractor or supplier of any tier. Upon receipt of notice of a lien claim or other claim for
                payment, the Owner shall notify the Contractor. If approved by the applicable court, when required, the Contractor
                may substitute a surety bond for the property against which the lien or other claim for payment has been asserted.

                § 15.6           Substantial Completion
                § 15.6.1 Substantial Completion is the stage in the progress of the Work when the Work or designated portion thereof
                is sufficiently complete in accordance with the Contract Documents so that the Owner can occupy or utilize the Work
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                for its intended use. Unless agreed to otherwise in writing, substantial completion shall not occur prior to the issuance
                of a conditional certificate of occupancy, allowing Owner to fully occupy the premises for its intended business.

                § 15,6.2 When the Contractor considers that the Work, or a portion thereof which the Owner agrees to accept
                separately, is substantially complete, the Contractor shall prepare and submit to the Owner a comprehensive list of
                items to be completed or corrected prior to final payment. Failure to include an item on such list does not alter the
                responsibility of the Contractor to complete all Work in accordance with the Contract Documents.

                § 15.6.3 Upon receipt of the Contractor’s list, the Owner will make an inspection to determine whether the Work or
                designated portion thereof is substantially complete. When the Owner determines that the Work or designated portion
                thereof is substantially complete, the Owner will issue a Certificate of Substantial Completion which shall establish
                the date of Substantial Completion; establish responsibilities of the Owner and Contractor for security, maintenance,
                heat, utilities, damage to the Work and insurance; and fix the time within which the Contractor shall finish all items on
                the list accompanying the Certificate. Warranties required by the Contract Documents shall commence on the date of
                Substantial Completion of the Work or designated portion thereof unless otherwise provided in the Certificate of
                Substantial Completion.

                § 15.6.4 The Notice of Substantial Completion shall be submitted to the Owner by the Contractor for written
                acceptance of responsibilities assigned to them in the Notice. Upon such acceptance and consent of surely, if any, the
                Owner shall make payment of retainage applying to the Work or designated portion thereof. Such payment shall be
                adjusted for Work that is incomplete or not in accordance with the requirements of the Contract Documents. In the
                event of liquidated damages associated with delay to reaching the substantial completion date, such shall, if not
                previously deducted, be deducted from the net retainage sum to be released to the Contractor.

                § 15.7 Final Completion and Final Payment
               § 15.7.1 Upon receipt of the Contractor’s notice that the Work is ready for final inspection and acceptance and upon
               receipt of a final Application for Payment, the Owner will promptly make such inspection and, when the Owner finds
               the Work acceptable, including compliance with any lender or Landlord requirements, under the Contract Documents
               and the Contract fully performed, the Work has been completed in accordance with the Contract Documents and that
               the entire balance found to be due the Contractor is due and payable. The Owner’s acceptance of the Work will
               constitute a further representation that conditions stated in Section 15.7.2 as precedent to the Contractor’s being
               entitled to final payment have been fulfilled. Any such final payment shall be reduced by liquidated damages for final
               completion as identified in §3.5. Unless otherwise agreed to in writing by the parties and/or required work from
               Owner’s separate contractors is still incomplete, final completion shall not occur prior to issuance of a final,
               unconditional certificate of occupancy.

               § 15.7,2 Final payment shall not become due until the Contractor has delivered to the Owner a complete set of as-built
               documents, warranties, list of subs and a complete release of all liens arising out of this Contract or receipts in full
               covering all labor, materials and equipment for which a lien could be filed, or a bond satisfactory to the Owner to
               indemnify the Owner against such lien. If such lien remains unsatisfied after payments are made, the Contractor shall
               refund to the Owner all money that the Owner may be compelled to pay in discharging such lien, including costs and
               reasonable attorneys’ fees.

               § 15.7.3 The making of final payment shall constitute a waiver of claims by the Owner except those arising from
                           .1     liens, claims, security iifterests or encumbrances arising out of the Contract and unsettled;
                           .2     failure of the Work to comply with the requirements of the Contract Documents;
                           .3     terms of special warranties required by the Contract Documents;
                           .4     audits performed by the Owner, if permitted by the Contract Documents, after final payment; or
                           .5     as otherwise set forth in Section 9.15

               § 15.7.4 Acceptance of final payment by the Contractor, a Subcontractor or supplier shall constitute a waiver of claims
               by that payee except those previously made in writing and identified by that payee as unsettled at the time of the final
               Application for Payment.




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                  ARTICLE 16     PROTECTION OF PERSONS AND PROPERTY
                  § 16.1 Safety Precautions and Programs
                  The Contractor shall be responsible for initiating, maintaining, and supervising all safety precautions and programs in
                  connection with the performance of the Contract. The Contractor shall take reasonable precautions for safety of, and
                  shall provide reasonable protection to prevent damage, injury, or loss to
                           .1    employees on the Work and other persons who may be affected thereby;
                           .2    the Work and materials and equipment to be incorporated therein, whether in storage on or off the site,
                                 under care, custody, or control of the Contractor, a Subcontractor, or a Sub-subcontractor; and
                           .3    other property at the site or adjacent thereto, such as trees, shrubs, lawns, walks, pavements, roadways,
                                 structures and utilities not designated for removal, relocation, or replacement in the course of
                                 construction;
                            .4 Landlord’s property

                  The Contractor shall comply with, and give notices required by, applicable laws, statutes, ordinances, codes, rules and
                  regulations, and lawful orders of public authorities bearing on safety of persons and property and their protection from
                  damage, injury, or loss. The Contractor shall promptly remedy damage and loss to property caused in whole or in part
                  by the Contractor, a Subcontractor, a sub-subcontractor, or anyone directly or indirectly employed by any of them, or
                  by anyone for whose acts they may be liable and for which the Contractor is responsible under Sections 16.1.2 and
                   16.1 ..3. The Contractor may make a claim for the cost to remedy the damage or loss to the extent such damage or loss
                  is attributable to acts or omissions of the Owner or by anyone for whose acts either of them may be liable, and not
                  attributable to the fault or negligence of the Contractor. The foregoing obligations of the Contractor are in addition to
                  the Contractor’s obligations under Section 9.15.

                  § 16.2 Hazardous Materials and Substances
                 § 16.2.1 The Contractor is responsible for compliance with the requirements of the Contract Documents regarding
                 hazardous materials or substances. If the Contractor encounter.s a hazardous material or substance not addressed in the
                 Contract Documents, and if reasonable precautions will be inadequate to prevent foreseeable bodily injury or death to
                 persons resulting from a material or substance, including but not limited to asbestos or polychlorinated biphenyl
                 (PCB), encountered on the site by the Contractor, the Contractor shall, upon recognizing the condition, immediately
                 stop Work in the affected area and notify the Owner of the condition. When the material or substance has been
                 rendered harmless, Work in the affected area shall resume upon written agreement of the Owner and Contractor. By
                 Change Order, the Contract Time shall be extended appropriately and the Contract Sum shall be increased in the
                 amount of the Contractor’s reasonable additional costs of shutdown, delay, and start-up. Knowing failure on the part
                 of the Contractor or its subcontractors to provide Owner with notice of encountering hazardous materials or
                 substances or knowing failure of the Contractor or its subcontractors to cease work upon encountering hazardous
                 materials or substances shall be at Contractor’s sole risk for damages and delays resulting therefrom.

                 § 16.2.2 To the fullest extent permitted by law, the Owner shall indemnify and hold harmless the Contractor,
                 Subcontractors, and agents and employees of any of them from and against claims, damages, losses, and expenses,
                 including but not limited to attorneys’ fees, arising out of or resulting from performance of the Work in the affected
                 area, if in fact, the material or substance presents the risk of bodily injury or death as described in Section 16.2.1 and
                 has not been rendered harmless, provided that such claim, damage, loss, or expense is attributable to bodily injury,
                 sickness, disease or death, or to injury to or destruction of tangible property (other than the Work itself), except to the
                 extent that such damage, loss, or expense is due to the fault or negligence of the party seeking indemnity.

                 § 16.2.3 If, without negligence on the part of the Contractor, the Contractor is held liable by a government agency for
                 the cost of remediation of a hazardous material or substance solely by reason of performing Work as required by the
                 Contract Documents, the Owner shall indemnify the Contractor for all cost and expense thereby incurred.

                 ARTICLE 17     INSURANCE
                 § 17.1 Contractor’s Insurance
                 § 17.1.1 The Contractor shall    purchase and maintain insurance of the types and limits of liability, containing the
                 endorsements, and subject to the terms and conditions, a.s described in this Section 17.1 or elsewhere in the Contract
                 Documents. The Contractor shall purchase and maintain the insurance required by this Agreement from an insurance
                 company or insurance companies lawfully authorized to issue insurance in the jurisdiction where the Project is
                 located. The Contractor shall maintain the required insurance until the expiration of the period for correction of Work
                 as set forth in Section 18.4, unless a different duration is stated below:
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                § 17.1.2 Commercial General Liability insurance for the Project written on an occurrence form with policy limits of not less
                than One Million Dollars ($1,000,000.00 ) each occurrence. Two Million Dollars ($ 2,000,000.00 ) general aggregate,
                and Two Million Dollars ($ 2,000,000.00 ) aggregate for products-completed operations hazard, providing coverage for
                claims including
                         .1    damages because of bodily injury, sickness or disease, including occupational sickness or disease, and
                               death of any person;
                         .2    personal and advertising injury;
                         .3    damages because of physical damage to or destruction of tangible property, including the loss of use of
                               such property;
                         .4    bodily injury or property damage arising out of completed operations; and
                         .5    the Contractor’s indemnity obligations under Section 9.15.

                § 17.1.3 Automobile Liability covering vehicles owned by the Contractor and non-owned vehicles used by the
                Contractor, with policy limits of not less than One Million Dollars (S 1,000,000.00 ) per accident, for bodily injury,
                death of any person, and property damage arising out of the ownership, maintenance, and use of those motor vehicle.s
                along with any other statutorily required automobile coverage.

                § 17.1.4 The Contractor may achieve the required limits and coverage for Commercial General Liability and
                Automobile Liability through a combination of primary and excess or umbrella liability insurance, provided such
                primary and excess or umbrella insurance policies result in the same or greater coverage as those required under
                Section 17.1.2 and 17.1.3, and in no event shall any excess or umbrella liability insurance provide narrower coverage
                than the primary policy. The excess policy shall not require the exhaustion of the underlying limits only through the
                actual payment by the underlying insurers.

               § 17.1.5 Workers’ Compensation at statutory limits.

               § 17.1.6 Employers’ Liability with policy limits not less than One Million Dollars ($ 1,000,000.00 ) each accident.
               One Million Dollars ($ 1,000,000.00 ) each employee, and One Million Dollars ($ 1,000,000.00 ) policy limit.

               § 17.1.7 If the Contractor is required to furnish professional services as part of the Work, the Contractor shall procure
               Professional Liability insurance covering performance of the professional services, with policy limits of not less than
               Two Million Dollars ($ 2,000,000.00 ) per claim.




               (Paragraphs deleted)
               § 17.1.10 The Contractor shall provide certificates of insurance acceptable to the Owner evidencing compliance with
               the requirements in this Section 17.1 at the following times: (1) prior to commencement of the Work; (2) upon renewal
               or replacement of each required policy of insurance: and (3) upon the Owner’s written request. An additional
               certificate evidencing continuation of liability coverage, including coverage for completed operations, shall be
               submitted with the final Application for Payment and thereafter upon renewal or replacement of such coverage until
               the expiration of the period required by Section 17.1.1. The certificates will show the Owner and Landlord as an
               additional insured on a primary and non-conlributory basis on the Contractor’s Commercial General Liability and
               excess or umbrella liability policy. Upon written request by the Owner, Contractor shall provide a full copy of any or
               all of the above policies or coverage endorsements including all endorsements.

               § 17.1.11 The Contractor shall disclose to the Owner any deductible or self- insured retentions applicable to any
               insurance required to be provided by the Contractor.

               § 17.1.12 To the fullest extent permitted by law, the Contractor shall cause the commercial liability coverage required
               by this Section 17.1 to include {1) the Owner a.s additional insureds for claims caused in whole or in part by the
               Contractor’s negligent acts or omissions during the Contractor’s operations; and (2) the Owner as an additional

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                insured for claims caused in whole or in part by the Contractor’s negligent acts or omissions for which loss occurs
                during completed operations. The additional insured coverage shall be primary and non-contribiitory to any of the
                Owner’s general liability insurance policies and shall apply to both ongoing and completed operations. To the extent
                commercially available, the additional insured coverage shall be no less than that provided by Insurance Services
                Office, Inc. (ISO) forms CG 20 10 07 04, CG 20 37 07 04, and, with respect to the Architect and the Architect’s
                Consultants, CG 20 32 07 04. If this level of coverage cannot be provided Owner shall have the election to (a)
                terminate this Contract, (b) obtain such additional coverage and charge the Contract balance for the cost of such, or (c)
                waive such portions of the above coverage as cannot be obtained and proceed with the contract. The same options
                shall be available to the Owner if the CGL Policy includes exclusions or limitations to coverage that are contrary to
                exclusion terms that have been approved by the Department of Insurance for the state in which the Pro ject is being
                constructed, which effectively eliminate insurance coverage for the particular premises, or which are less than any
                insurance requirements placed upon the Project by the Landlord.

                § 17.1.13 Within three (3) business days of the date the Contractor becomes aware of an impending or actual
                cancellation or expiration of any insurance required by this Section 17.1, the Contractor shall provide notice to the
                Owner of such impending or actual cancellation or expiration. Upon receipt of notice from the Contractor, the Owner
                shall, unless the lapse in coverage arises from an act or omission of the Owner, have the right to stop the Work until the
                lapse in coverage has been cured by the procurement of replacement coverage by the Contractor. The furnishing of
                notice by the Contractor shall not relieve the Contractor of any contractual obligation to provide any required
                coverage.

                § 17.1.14   Other Insurance Provided by the Contractor
                (Us! below any other insurance coverage to he provided by the Contractor and any applicable limits.)

                            Coverage                                                 Limits
                            Excess Liability ("Umbrella")                            $5,000,000 per occurrence and $5,000,000 in the aggregate for
                                                                                     Bodily Injury and Property Damage



                § 17.1.15 Casualty
                In the event of a casualty during construction of the Tenant Improvements, the terms of the lease between Owner and
                Landlord shall govern the distribution of any insurance proceeds resulting therefrom.

               § 17.2 Owner’s Insurance
               § 17.2.1   Owner’s Liability Insurance
               3'he Owner shall be responsible for purchasing and maintaining the Owner’s usual liability insurance.

               § 17.2.2 Property Insurance
               § 17.2.2.1 The Contractor shall purchase and maintain, from an insurance company or insurance companies lawfully
               authorized to issue insurance in the jurisdiction where the Project is located, property insurance written on a builder’s
               risk "all-risks" completed value or equivalent policy form and sufficient to cover the total value of the entire Project on
               a replacement cost basis. The Contractor’s property insurance coverage shall be no less than the amount of the initial
               Contract Sum, plus the value of subsequent Modifications and labor performed or materials or equipment supplied by
               others. The property insurance shall be maintained until Substantial Completion and thereafter as provided in Section
               17.2.2.2, unless otherwise provided in the Contract Documents or otherwise agreed in writing by the parties to this
               Agreement. This insurance shall include the interests of the Owner, Contractor, Subcontractors, and
               Sub-subcontractors in the Project a.s insureds. This insurance shall include the interests of mortgagees as loss payees.

               § 17.2.2.2 Unless the parties agree otherwise, upon Substantial Completion, the Contractor shall continue the
               insurance reqtiired by Section 17.2.2.1 or, if necessary, replace the insurance policy required under Section 17.2.2.1
               with property insurance written for the total value of the Project that shall remain in effect until expiration of the period
               for correction of the Work set forth in Section 18.4.

               § 17.2.2.3 If the insurance required by this Section 17.2.2 is subject to deductibles or self-insured retentions, the
               Contractor shall be responsible for all loss not covered because of such deductibles or retentions.


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               § 17.2.2.4 If the Work involves remodeling an existing structure or constructing an addition to an existing structure,
               the Contractor shall purchase and maintain, until the expiration of the period for correction of Work as set forth in
               Section 18.4, "all-risks" property insurance, on a replacement cost basis, protecting the existing structure against
               direct physical loss or damage, notwithstanding the undertaking of the Work. The Contractor shall be responsible for
               all co-insurance penalties.

               § 17.2.2.5 Prior to commencement of the Work, the Contractor shall secure the insurance, and provide evidence of the
               coverage, required under this Section 17.2.2 and, upon the Owner’s request, provide a copy of the property insurance
               policy or policies required by this Section 17.2.2. The copy of the policy or policies provided shall contain all
               applicable conditions, definitions, exclusions, and endorsements.

               § 17.2.2.6 Within three (3) business days of the date the Contractor becomes aware of an impending or actual
               cancellation or expiration of any insurance required by this Section 17.2.2, the Contractor shall provide notice to the
               Owner of such impending or actual cancellation or expiration. Unless the lapse in coverage arises from an act or
               omission of the Owner: (1) the Owner, upon receipt of notice from the Contractor, shall have the right to stop the Work
               until the lapse in coverage has been cured by the procurement of replacement coverage by either the Owner or the
               Contractor; (2) the Contract Time and Contract Sum shall be equitably adjusted; and (3) the Contractor waives all
               rights against the Owner, Subcontractors, and Sub-subcontractors to the extent any loss to the Contractor would have
               been covered by the insurance had it not expired or been cancelled. If the Owner purchases replacement coverage, the
               cost of the insurance shall be charged to the Contractor by an appropriate Change Order. The furnishing of notice by
               the Contractor shall not relieve the Contractor of any contractual obligation to provide required insurance.

               § 17.2.2.7            Waiver of Subrogation
               § 17.2.2.7.1 The Owner and Contractor waive all rights against (1) each other and any of their subcontractors,
               sub-subcontractors, agents, and employees, each of the other; (2) Separate Contractors, if any, and any of their
               subcontractors, sub-subcontractors, agents, and employees, for damages caused by fire, or other causes of loss, to the
               extent those losses are covered by property insurance required by this Agreement or other property insurance
               applicable to the Project, except such rights as they have to proceeds of such insurance. The Owner or Contractor, as
               appropriate, shall require similar written waivers in favor of the individuals and entities identified above from the
               Architect, Architect’s consultants, Separate Contractors, subcontractors, and sub-subcontractors. The policies of
               insurance purchased and maintained by each person or entity agreeing to waive claims pursuant to this Section
                17.2.2.7 shall not prohibit this waiver of subrogation. This waiver of subrogation shall be effective as to a person or
               entity (1) even though that person or entity would otherwise have a duty of indemnification, contractual or otherwise,
               (2) even though that person or entity did not pay the insurance premium directly or indirectly, or (3) whether or not the
               person or entity had an insurable interest in the damaged property. This provision does not apply to the Owner’s
               landlord unless a similar provision exists within Owner’s lease or any other written agreement with the landlord.

              § 17.2.2.7.2 If during the Project construction period the Owner insures properties, real or personal or both, at or
              adjacent to the site by property insurance under policies separate from those insuring the Project, or if after final
              payment property insurance is to be provided on the completed Project through a policy or policies other than those
              insuring the Project during the construction period, to the extent permissible by such policies, the Owner waives all
              rights in accordance with the terms of Section 17.2.2.7.1 for damages caused by fire or other causes of loss covered by
              this separate property insurance. This provision does not apply to the Owner’s landlord unless a similar provision
              exists within Owner’s lease or any other written agreement with the landlord.

              § 17.2.2.8 A loss insured under the Owner’s property insurance shall be adjusted by the Owner as fiduciary and made
              payable to the Owner as fiduciaiy for the insureds, as their interests may appear, subject to requirements of any
              applicable mortgagee clause. The Owner shall pay the Contractor it’s just shares of insurance proceeds received by the
              Owner, and by appropriate agreements, written where legally required for validity, the Contractor shall make
              payments to their consultants and Subcontractors in similar manner.

              § 17.2.3 Other Insurance Provided by the Owner
              (Lisi below any other insurance coverage to he provided by the Owner and any applicable limits.)

                         Coverage                                                  Limits



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                 (Paragraphs deleted)
                 ARTICLE 18    CORRECTION OF WORK
                 § 18.1 The Contractor shall promptly correct Work rejected by the Owner or failing to conform to the requirements of the
                 Contract Documents, whether discovered before or after Substantial Completion and whether or not fabricated, installed, or
                 completed. Costs of correcting such rejected Work, including additional testing and inspections, the cost of uncovering and
                 replacement, and compensation for the Owner’s and/or l.andlord’s services and expense.? made necessary thereby, shall be
                 at the Contractor’s expense, unless compensable under Section A. 1.7.3 in Exhibit A, Determination of the Cost of the Work.
                 All)' such corrective work, including correction of any other work or properly sustaining damage as a result of the defective
                 work, shall be commenced within 7 calendar days of notice of the defective work, unless the defective work is associated
                 with a health or safety hazard in which case work shall commence immediately upon receipt of notice. If the corrective work
                 will entail a period of time in excess of seven (7) calendar days, Contractor shall immediately notify the Owner and shall
                 provide a schedule adjustment showing the work to be completed without change in the Schedule completion date.

                 § 18.2 In addition to the Contractor’s obligations under Section 9.4, if, within one year after the date of Substantial
                 Completion of the Work or designated portion thereof or after the date for commencement of warranties established
                 under Section 15.6.3, or by terms of an applicable special warranty required by the Contract Documents, any of the
                 Work is found to be not in accordance with the requirements of the Contract Documents, the Contractor shall correct it
                 promptly after receipt of notice from the Owner to do so unless the Owner has previously given the Contractor a
                 written acceptance of such condition. The Owner or Landlord shall give such notice promptly after discovei7 of the
                 condition. During the one-year period for correction of Work, if the Owner or Landlord fails to notify the Contractor
                 and give the Contractor an opportunity to make the correction, the Owner waives the rights to require correction by the
                 Contractor and to make a claim for breach of warranty. This one year period shall not diminish or waive Contractor’s
                 obligation to correct any latent defects and resulting damage during any applicable statute of limitations or statute of
                 repose. Landlord shall be a third party beneficiary of this Article 18 and entitled to enforce the terms hereof.

                 § 18.3 If the Contractor fails to correct nonconforming Work within a reasonable time, the Owner may correct it in
                 accordance with Section 8.3.

                § 18.4 The one-year period for correction of Work shall be extended with respect to portions of Work first performed
                after Substantial Completion by the period of time between Substantial Completion and the actual completion of that
                portion of the Work.

                § 18.5 The one-year period for correction of Work shall not be extended by corrective Work performed by the
                Contractor pursuant to this Article 18.




                ARTICLE 19    MISCELLANEOUS PROVISIONS
                § 19.1 Assignment of Contract
                Neither party to the Contract shall assign the Contract without written consent of the other, except that the Owner may,
                without consent of the Contractor, assign the Contract to a lender providing construction financing for the Project if
                the lender assumes the Owner’s rights and obligations under the Contract Documents. The Contractor shall execute all
                consents reasonably required to facilitate such assignment.

                § 19.2     Governing Law
                The Contract shall be governed by the law of the place where the Project is located, excluding that jurisdiction’s
                choice of law rules. If the parties have selected arbitration as the method of binding dispute resolution, the Federal
                Arbitration Act shall govern Section 21.6.

                § 19.3 Tests and Inspections
                Tests, inspections, and approvals of portions of the Work required by the Contract Documents or by applicable laws,
                statutes, ordinances, codes, rules and regulations, or lawful orders of public authorities shall be made at an appropriate

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               time. Unless otherwise provided, the Contractor shall make arrangements for such tests, inspections, and approvals
               with an independent testing laboratory or entity acceptable to the Owner, or with the appropriate public authority.
               Owner shall bear all related costs of tests, inspections, and approvals. The Contractor shall give the Owner timely
               notice of when and where tests and inspections are to be made so that the Owner or Owner’s independent testing
               agency or local code officials may be present for such procedures. The Owner shall bear costs of tests, inspections, or
               approvals that do not become requirements until after bids are received or negotiations concluded. The Owner shall
               directly arrange and pay for tests, inspections, or approvals where building codes or applicable laws or regulations so
               require.

               § 19.4 The Owner’s representative:
               (Name, address, email address and other information)

               Gary Roberts

               Cell: 732.687.6505
               Email: gary.r@dhl.com

               § 19.5 The Contractor’s representative:
               (Name, address, email addre.ss and other information)

               Muzalier Gaussaint
               Scungio Borst Associates
               Project Manager
               Cell: 856.780.0719
               Email: mgaussaint@scungioborst.com

               § 19.6 Neither the Owner’s nor the Contractor’s representative shall be changed without ten days’ prior notice to the
               other party.

               § 19.7    Non-Solicitation
               During the period commencing from the date of this Agreement and ending one year following either the Substantial
               Completion Date or the Termination of the Contract Date, the Owner shall not, without the Contractorhs prior written
               consent, directly or indirectly; (i) solicit or encourage any person to leave the employment or other service of the
               Contractor or its Affiliates; or (ii) hire, on behalf of the Owner or any other person or entity., any person who has left
               the employment within the one year period following the termination of that person's employment with the Contractor
               or its Affiliates.

               ARTICLE 20      TERMINATION OF THE CONTRACT
               § 20.1 Termination by the Contractor
               If the Owner fails to certify payment as provided in Section 15.4.1 for a period of 30 days, through no fault of the
               Contractor, or if the Owner fails to make an approved payment as provided in Section 4.1.3 for a period of an
               additional 30 days , subject to any additional time set forth above due to lender or landlord review, , the Contractor
               may, upon seven additional days’ notice to the Owner term inate the Contract and recover from the Owner payment for
               Work executed, including reasonable overhead and profit on such Work, and costs incurred by reason of such
               terminationg 20.2 Termination by the Owner for Cause

               (Paragraph deleted)
              § 20.2.1The Owner may terminate the Contract if the Contractor
                       .1   repeatedly refuses or fails to supply enough properly skilled workers or proper materials;
                       .2   fails to make payment to Subcontractors for materials or labor in accordance with the respective
                            agreements between the Contractor and the Subcontractors and/or fails to effectuate a discharge of any
                            filed lien as set forth in the Contract;
                       .3   repeatedly disregards applicable laws, statutes, ordinances, codes, rules and regulations, or lawful
                            orders of a public authority; or
                       .4   otherwise i,s guilty of substantial breach of a provision of the Contract Documents.



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                 § 20.2.2   When any of the reasons described in Section 20.2.1 exists, the Owner, upon determination that sufficient
                 cause exists to justify such action, may, without prejudice to any other remedy the Owner may have and after giving
                 the Contractor seven days’ notice, terminate the Contract and take possession of the site and of all materials,
                 equipment, tools, and construction equipment and machinery thereon owned by the Contractor and may finish the
                 Work by whatever reasonable method the Owner may deem expedient. Upon request of the Contractor, the Owner
                 shall furnish to the Contractor a detailed accounting of the costs incurred by the Owner in finishing the Work.

                 § 20.2.3  When the Owner terminates the Contract for one of the reasons stated in Section 20.2.1, the Contractor shall
                 not be entitled to receive further payment until the Work is finished.

                 § 20.2.4  If the unpaid balance of the Contract Sum less liquidated damages, if any, exceeds costs of finishing the
                 Work, including compensation for an Architect’s services and expenses made necessary thereby, and other damages
                 incurred by the Owner and not expressly waived, such excess shall be paid to the Contractor. If such costs and
                 damages exceed the unpaid balance, the Contractor shall pay the difference to the Owner. This obligation for payment
                 shall survive termination of the Contract.

                 § 20.3 Termination by the Owner for Convenience
                 The Owner may, at any time, terminate the Contract for the Owner’s convenience and without cause. The Owner shall
                 pay the Contractor for Work executed; and costs incurred by reason of such termination, including costs attributable to
                 termination of Subcontracts; and a termination fee. if any, as follows:
                 (Insert the amount of or methodfor determining the fee payable to the Contractor by the Owner following a
                 termination for the Owner's convenience, ifany.)

                 Contractor is entitled to receive the Tee established in the initial Cost of the Work as shown in the initial Schedule of
                 Values at the start of the Work plus any Tee established in approved Change Orders, in each case, prorated based upon
                 the amount of work completed on such, but unpaid as of the effective date of the Termination for Convenience.

                 ARTICLE 21     CLAIMS AND DISPUTES
                 § 21.1 Claims, disputes, and other matters    in question arising out of or relating to this Contract, including those
                 alleging an error or omission by the Architect but excluding those arising under Section 16.2, shall be referred initially
                 to the Owner for decision. Such matters, except those waived as provided for in Section 21.11 and Sections 15.7..3 and
                 15.7.4, shall, after initial decision by the Owner or 30 days after submission of the matter to the Owner, be subject to
                 mediation as a condition precedent to binding dispute resolution.

                § 21.2 Notice of Claims
                § 21.2.1 Claims by either   the Owner or Contractor, where the condition giving rise to the Claim is first discovered
                prior to expiration of the period for correction of the Work set forth in Section 18.2, shall be initiated by notice to the
                Owner within 21 days after occurrence of the event giving rise to such Claim or within 21 days after the claimant first
                recognizes the condition giving rise to the Claim, whichever is later.

                § 21.2.2  Claims by either the Owner or Contractor, where the condition giving rise to the Claim is first discovered after
                expiration of the period for correction of the Work set forth in Section 18.2, shall be initiated by notice to the other
                party.

                § 21.3 Time Limits on Claims
                The Owner and Contractor shall commence all claims and causes of action against the other and arising out of or
                related to the Contract in accordance with the requirements of the final dispute resolution method selected in this
                Agreement whether in contract, tort, breach of warranty, or otherwise, within the period specified by applicable law,
                but in any case not more than 10 years after the date of Substantial Completion of the Work or the applicable Statute of
                Repose, whichever is later.. The Owner and Contractor waive all claims and causes of action not commenced in
                accordance with this Section 21.3.

                § 21.4 If a claim, dispute or other matter in question relate.s to or is the subject of a mechanic’s lien, the party asserting
                such matter may proceed in accordance with applicable law to comply with the lien notice or filing deadlines.

                § 21.5 As an absolute precondition, except as set forth below, the parties shall engage in and endeavor to resolve their
                disputes by mediation which, unless the parties mutually agree otherwise, shall be administered by the American
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               Arbitration Association in accordance with their Construction Industry Mediation Procedures in effect on the date of
               this Agreement. A request for mediation shall be made in writing, delivered to the other party to this Agreement, and
               filed with the person or entity administering the mediation. The request may be made concurrently with the binding
               dispute resolution but, in such event, mediation shall proceed in advance of binding dispute resolution proceedings,
               which shall be stayed pending mediation for a period of 60 days from the date of filing, unless stayed for a longer
               period by agreement of the parties or court order. If an arbitration is stayed pursuant to this Section, the parties may
               nonetheless proceed to the selection of the arbitrator(s) and agree upon a schedule for later proceedings.

                § 21.6 If the parties have selected arbitration as the method for binding dispute resolution in this Agreement, any
                claim, subject to, but not resolved by, mediation shall be subject to arbitration which, unless the parties mutually agree
                otherwise, shall be administered by the American Arbitration Association, in accordance with the Construction
                Industry Arbitration Rules in effect on the date of this Agreement. Demand for arbitration shall be made in writing,
                delivered to the other party to the Contract, and filed with the person or entity administering the arbitration. The award
                rendered by the arbitrator or arbitrators shall be final, and judgment may be entered upon it in accordance with
               applicable law in any court having jurisdiction thereof. Such arbitration shall be the exclusive remedy for any disputes
               that cannot be resolved by mediation and shall be final and binding upon the parties. The parties each understand and
               agree that this arbitration selection shall constitute a full and complete waiver of their rights to file a lawsuit, unless
               any statutory provisions pertaining to lien claims otherwise require or as set forth in Section 21.7. The parties further
               acknowledge that this provision represents a knowing waiver of the rights to have the matter heard and decided by a
               judge or jury, except for purposes of enforcement. An)' arbitration proceeding shall occur within the Commonwealth
               of Pennsylvania, City of Philadelphia and any proposed arbitrators shall be comprised of qualified arbitrators
               proximate to the City of Philadelphia.

               § 21.7 Subject to the rules of the American Arbitration Association or other applicable arbitration rules, either party, at
               its sole discretion, may consolidate an arbitration conducted under this Agreement with any other arbitration to which
               it is a parly provided that (I) the arbitration agreement governing the other arbitration permits consolidation; (2) the
               arbitrations to be consolidated substantially involve common questions of law or fact; and (3) the arbitrations employ
               materially similar procedural rules and methods for selecting arbitrator(s).

               § 21.8 Subject to the rules of the American Arbitration Association or other applicable arbitration rules, any party to
               an arbitration may include by joinder persons or entities substantially involved in a common question of law or fact
               whose presence is required if complete relief is to be accorded in arbitration provided that the party sought to be joined
               consents in writing to such joinder. Consent to arbitration involving an additional person or entity shall not constitute
               consent to arbitration of a Claim not described in the written Consent.

               § 21.9 The foregoing agreement to arbitrate and other agreements to arbitrate with an additional person or entity duly
               consented to by parties to this Agreement, shall be specifically enforceable applying the law of the Commonwealth of
               Pennsylvania a court of competent jurisdiction within the Commonwealth of Pennsylvania.

               § 21.10              Continuing Contract Performance
               Pending final resolution of a Claim, except as otherwise agreed in writing, the Contractor shall proceed diligently with
               performance of the Contract and the Owner shall continue to make payments in accordance with the Contract
               Documents.

               § 21.11             Waiver of Claims for Consequential Damages
               (Paragraphs deleted)
                Except as otherwise specifically provided in this Agreement, Owner shall not be liable to Contractor for any costs for
                principal office expenses, except those expenses for the compensation of personnel stationed there that may perform
                work for the Project and any other home office overhead. Except as otherwise specifically provided in this
                Agreement, neither party nor any of its employees, officers, or directors are liable to the other party for indirect,
                special, incidental, punitive, consequential or exemplary damages, including loss of profits or revenue, loss of use,
                cost of capital, down time costs, los.s of production, loss of opportunity, loss of goodwill, and/or claims of customers
                of the other party for such damages, and each party hereby waives any right to the same; and each party hereby
                releases the other party and their respective employees, officers and directors from liability to the other for such
                damages. Contractor shall obtain from all subcontractors and vendors for the benefit of Owner releases from all such
                liability in accordance with the foregoing provisions of this Section. Owner agrees that the above waiver and release
                extends to Contractor’s subcontractors. The parties agree that the following shall not be construed or deemed to be
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                 indirect, special, incidental, consequential or exemplary damages for purposes of this Agreement: (i) damages
                 resulting from personal injuries (including death) and illnesses, property damage, gross negligence, reckless or
                 intentional misconduct, infringement, misappropriation, or breaches of confidentiality, (ii) costs necessary to
                 properly correct the Work and any resulting property damage, (iii) third party damages that either party is obligated to
                 indemnify for pursuant to this agreement and (iv) damages that are liquidated in this Agreement.


               This Agreement entered into as of the day and year first written above.

                               0tituSi5«nS 6y:

                                                  ________ _______________

                 OWNER (Signore)
                  Craig Brace                          vp, Real Estate
                                                                                                Jim Biickley President
                 (Primed name and title)                                                        (Printed name and Iide)




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               Additions and Deletions Report for
               AlA® Document A10e - 2017

               This Additions and Deletions Report, as defined on page 1 of the associated document, reproduces below all text the author has added
               to the standard form AIA document in order to complete it, as well as any text the author may have added to or deleted from the original
               AIA text. Added text is shown underlined. Deleted text is indicated with a horizontal line through the original AIA text.

               Note: This Additions and Deletions Report is provided for information purposes only and is not incorporated into or constitute any part
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               PAGE1

               AGREEMENT made            as of the _l4!Jl_day of October in the year 2021



               KLS Logistics, Inc
               c/o DHL Supply Chain (USA)
               360 Westar Boulevard
               Westerville, Ohio 43082
               Attention: Legal Department



               Scungio Borst Associates
               2 Riverside Drive, Suite 500
               Camden, NJ 08103
               Phone: 856.757.0] 00



               PLCB Warehouse Improvements - Phases 2
               11601 Roosevelt Blvd
               Philadelphia, PA 19154
               This project is the improvement work to the existing active Pennsylvania Liquor Control Board distribution building.
               Owner leases the building from NP Roosevelt Industrial 11, LLC ("Landlord") The improvements for these phases
               consists of electrical and plumbing work for new equipment placement and relocation of existing equipment a I ong
               with associated work as well as new sprinkler lines and reworking existing sprinkler heads in select storage racks.



               N/A
               PAGE 2

                      {—]----- JT^'l'he date of this Agreement.
               PAGE 3

                      []         Not-krter-than—(—J-ealendai-day-s-frem-thcKlate of commencement of the Work;

                           By the following date: January 31,2022.



                     {—]----- [J^Stipulated Sum, in accordance with Section 3.2 below

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                § 3.2 The Stipulated Sum shall be ($—VEight Hundred Ninety-Six Thousand One Hundred Ninety-Two and OO/lOO
                Dollars ($ 896.192.00), subject to additions and deductions as provided in the Contract Documents.



               N/A
               PAGE 4

                              Permit Allowance                                               $1,257.00

               §-3-.-3-€esTof-the-W0Fk Plus-€ontraeter^s-Fee§ 3.2.4.1 In preparing the Contractor’s Stipulated Sum Price proposal,
               due to the lack of existing documentation in creation of the Scope of Work, the Contractor has included a contingency
               for the Contractor’s use following notice to and approval by Owner and in accordance with 53.2,4.2 and §3.2.4,3 to
               cover those costs that are included in the Stipulated Sum Price but not otherwise allocated to another line item or
               included in a Change Order.

               5 3.2.4,2 The Contractor Contingency shall exist to cover expected but unknown costs that are not detailed in the
               Stipulated Stim Price, or increased costs properly incurred in the performance of the Work which arise after the
               beginning of the Work and which were and which could not have reasonably been anticipated, but which are not
               properly considered a Change Order, such as (i) refinement of details of design within the scope and standard of
               quality and quantities on which the Stipulated Sum Price is based, (ii) schedule acceleration, used in the interest of the
               Contractor to benefit the Project schedule through the use of premium time or overtime for select trades or equipment
               costs (except to the extent the Contractor or a Subcontractor is at fault), (iii) shift work, design conflicts and change.s in
               the final design plans (iv) availability of material, material or labor cost escalations, (v) corrective Work as a result of
               damage by parties unknown, or (vi) any other items or costs necessary or appropriate to the timely and proper
               completion of the Project. Amounts may be charged against Contingency only with the Owner’s written consent,
               which shall not be unreasonably withheld. When Owner has approved a draw against Contingency, the Contractor
               shall increase the relevant Trade Work budgeted line itemfs) by the amount of the decrease the Contingency line item
               accordingly. In no circumstances shall Contingency be transferred or applied to Contractor’s staffing costs or
               General Conditions, unless approved in advance by Owner.

               § 3.2.4.3 The Contractor’s contingency is not intended for nor shall it be used to pay for costs related to the following:
               errors or omissions in the information provided to the Contractor in developing the Scope of Work: discrepancies in
               the construction of the existing building pertaining to applicable building code requirements: and/or enhancements or
               additions to the Scope of Work requested by the Owner appropriately addressed under Article 13.
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               Contingency. Any unspent contingency remaining as of the date of final completion shall be returned to the Owner
               by the Contractor with the remaining balance due the Owner issued as a deduct Owner Change Order.

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               § 3.4.3.5 Assumptions, if any, on which the-€i>afaKtee4-MftK-i«wm-Priee- is baserir

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               $500.00 per day




               § 4.1.1 Based upon Applications for Payment s«bfH4tt€dA©4he-ArF©h-ite©t-by-tlre-€©irtfaeteF-aird-€€rtifieat©s4©r
               PaynreHt-issued-bv-the-Ai-ehiteeU-the-and partial lien releases for Contractor, all subcontractoi's, sub-subcontractors
               and material suppliers submitted to the Owner by the Contractor and draw request submitted by the Owner, Owner
               shall make progress payments on account of the Contract Sum to the Contractor as provided below and elsewhere in
               the Contract Documents.

              § 4.1.2 The period covered by each Application for Payment shall be one calendar month ending on the last day of the
              month, ©MS-fefte^vs;




              § 4.1.3 Provided that an Application for Payment is received by the ArehiteePOwner not later than the ist.day of a
              month, the Owner shall make payment of the certified amount to the Contractor not later than the day-ef+b©—mentbr
              last day of the same month subject to Contractor submitting required partial lien releases for prior payment and Owner
              approval of requested percent complete progress payments, which shall not be unreasonably withheld. 1 f an
              Application for Payment is received by the Arel-iteet-after^ttie date fixed above^Owner after the date fixed above or
              revisions to initial Application for Payment submission are necessaiy and provided to Owner in a timely fashion,
              payment shall be made by the Owner not later than (—)-thirty I.30J days after the A-i^&hfteeTOwner receives the
              Application for Paym^eiUTPayment

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                § 4.1.4 For each progress payment made prior to Substantial Completion of the Work, the Owner may-will withhold
                retainage from the payment otherwise due as follows:
                (Insert a porcGnUig-e-or~ammml-to-be^mMM^i!i-Klainagofroni-e<iclrApplie&ii-on-fi)i^aymet-it~and-any-temis-fc»^


               Retainaae amounting to ten percent (10%) of the value of each subcontractor’s work included in each progress
               payment until Substantial Completion. At the first Application for Payment submitted after Substantial Completion
               (as defined in section 15.6.3), retainage shall be reduced to Five percent (5%) for all subcontractors and vendors.

               No retainage will be held against Contractor’s General Conditions, Staffing, Insurance, Taxes, Overhead and Fee.
               PAGES

               (Insert rate of interest agreed upon, ifany.)

               prime rate plus 1




               § 4.2.1 Final payment, constituting the entire unpaid balance of the Contract Sum, shall be made by the Owner to the
               Contractor when Owner has determined that the Work has been completed and accepted by Owner



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                                  Occupancy has been delivered to the Owner by Contractor.

               § 4.2.2 The Owner’s final payment to the Contractor shall be made no later than 30 days after the issuance c>F-the
               Arehiteefe-fmal-GertifieateTbr Payment, or as follows:Final Payment conditions above have been completed.



                      [ )£J       Arbitration pursuant to Section 21.6 of this Agreement



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               § 6.1.3 The Supplementary and other Conditions of the Contract:

               See attached Exhibit "C

                          DoGument                                 Title                                   Date                                    Pages




              N/A




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               See attached Exhibit "C



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               § 6.1.6 The Addenda, if any:

                           MuFHbeF                                                          Sate                           Pages




                                  [ 2L]          Exhibit A, Determination of the Cost of the Work.

                                  {—]----- Al A Documcnt-K2QT™-2017, Sastahrabte-Pfejee-ts-Exhibit, dated-as-Hwh-eated-beieWr
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                                  Exhibit      "B"Proposal Form
                                  Exhibit      "P"Scope Clarifications and Exclusion
                                  Exhibit      "E"Contractor’s Preliminary, Not for Construction Schedule and Sequence of Work
                                  Exhibit      "F"Labor Rates




              The Contract Documents are enumerated in Article 6 and consist of this Agreement (including, if applicable,
              Supplementary and other Conditions of the Contract), Drawings, Specifications, Addenda issued prior to the
              execution of this Agreement, other documents listed in this Agreement, and Modifications issued after execution of
              this Agreement. A Modification is {1) a written amendment to the Contract signed by both parties, (2) a Change Order,
              (3) a Construction Change Directive, or (4) a written order for a minor change in the Work issued by the Areh+tsetr
              Owner. The intent of the Contract Documents is to include all items necessary for the proper execution and completion
              of the Work by the Contractor. The Contract Document,s are complementary, and what is required by one shall be as
              binding as if required by all; performance by the Contractor shall be required to the extent consistent with the Contract
              Documents and reasonably inferable from them as being necessary to produce the indicated results.




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                Inslruments of Service are representations, in any medium of expression now known or later developed, of the tangible
                and intangible creative work performed by the Arehiteet-and the-Architect-^Contractor and Contractor’s consultants
                under their respective professional services agreements. Instruments of Service may include, without limitation,
                studies, surveys, models, sketches, drawings, specifications, and other similar materials.




               § 7.5.1 The Arehiteet-and-the-Ai^eh-iteet^s-Contractor and Contractor’s consultants shall be deemed the authors and
               owners of their respective Instruments of Service, including the Drawings and Specifications, and will retain all
               common law, statutory and other reserved rights in their Instruments of Service, including copyrights. The
               CentraetoivSubcontractors, Sub-subcontractors, and suppliers shall not own or claim a copyright in the Instruments of
               Service. Submittal or distribution to meet official regulatory requirements or for other purposes in connection with the
               Project is not to be construed as publication in derogation of the Areh-it-eet--s-or-vCi=clHteef-s-C'ontractor’s or
               Contractor’s consultants’ reserved rights.

               § 7.5.2 The Contractor, Subcontractors, Sub-subcontractors and suppliers are authorized to use and reproduce the
               Inslruments of Service provided to them, subject to the protocols established pursuant to Sections 7.6 and 7.7, solely
               and exclusively for execution of the Work. All copies made under this authorization shall bear the copyright notice, if
               any, shown on the Instruments of Service. I'he Contractor, Subcontractors, Sub-subcontractors, and suppliers may not
               use the Instruments of Service on other projects or for additions to this Project outside the scope of the Work without
               the specific written consent of the Owner, Architect and the-Architect^s-Contractor and Contractor’s consultants.




               The parties shall agree upon protocols governing the transmission and use of Instruments of Service or any other
               information or documentation in digital form. The-parties will use A-lA-Document E203™ 2013, Building
               information Modeling and Digital Data Exinbity-te-estabtish-the protocols for-the-deveiepmenMise, transmission, and
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              § 7.9.1 Except as otherwise provided in Section 7.9.2, where the Contract Documents require one party to notify or
              give notice to the other party, such notice shall be deemed mandatory, non-waivable and an absolute precondition to
              the relief sought by the party required to provide notice, and provided in writing to the designated representative of the
              party to whom the notice is addressed and shall be deemed to have been duly served if delivered in person, by mail, by
              courier, or by electronic transmission in accordance with-A1A-ge6tnHeftt-^3™-2013, Bu-ifdin-g-hrf&mratien
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              providing proof of delivery or by electronic transmission


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               § 7.9.2 Notice of Claims shall be provided in writing as set forth in §7.9.1. above, and shall be deemed duly served
               only if delivered to the designated representative of the party to whom the notice is being addressed only if served by
               certified or registered mail or by courier with proof of delivery or by overnight delivery with record of delivery. A
               party may provide electronic notice, which will be effective upon receipt if such is also delivered by one of the
               methods above.




               § 8.1.2 The Owner shall furnish all necessary surveys and a legal description of the srt-ersite upon request of the
               Contractor.




               § 8.1.4 Except for permits and fees that are the responsibility of the Contractor under the Contract Documents,
               including those required under Section 9.6.1, the Owner shall secure and pay for other necessary approvals,
               easements, assessments, and charges required for the construction, use, or occupancy of permanent structures or for
               permanent changes in existing facilities. All of the above shall be approved and/or secured as a condition precedent to
               Owner’s issuance of Notice to Proceed,
               PAGE 10

               If the Contractor defaults or neglects to carry out the Work in accordance with the Contract Documents, and fails
               within a ten-day period after receipt of notice from the Owner to commence and continue correction of such default or
               neglect with diligence and promptness, the Owner may, without further notice and without prejudice to any other
               remedie.s the Owner may have, correct such default or neglect. S«eht-a©tiorb4»y-the-©wfie«md-am©unte-ehafged-to-the
               Con-ti^aeter-are-both subject to prior approval-of-the-ArchiteeFfUKl-the Ai-e-hjteet-The Owner may, pursuant to Section
               15.4..3, withhold or nullity' a Certificate for Payment in whole or in part, to the extent reasonably necessary to
               reimburse the Owner for the reasonable cost of correcting such deficiencies, including the Owner’s expenses and
               compensation for the-Afshitect-fradditienal-an Architect’s services made necessary by such default, neglect, or
               failure. If the Contractor disagrees with the actions of the Owner er-the- A-rehitect, j_or the amounts claimed as costs to
               the Owner, the Contractor may file a Claim pursuant to Article 21.



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              § 9.1.2 Because the Contract Documents are complementary, the Contractor shall, before commencing on-site Work
              and before starting each portion of the Work, carefully study and compare the various Contract Documents relative to
              the site and that portion of the Work, as well as the information furnished by the Owner pursuant to Section 8.1.2, shall
              take field measurements of any existing conditions related to that portion of the Work and shall observe any conditions
              at the site affecting it. These obligations are for the purpose of facilitating coordination and construction by the
              Contractor and are not for the purpose of discovering errors, omissions, or inconsistencies in the Contract Documents;
              however. The Contractor shall promptly report to the Owner any errors, inconsistencies, or omissions discovered by or
              made known to the Contractor as a request for information in such form as the Owner may require. It is recognized
              that the Contractor’s review is made in the Contractor’s capacity as a contractor and not a.s a licensed design
              professional unless otherwise specifically provided in the Contract Documents. Contractor’s proceeding with the
              Work or such portions of it as are designated in thi.s Section shall constitute a representation by the Contractor that it

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               has made a reasonable inspection and has satisfied itself that the Work can be performed consistent with the Contract
               Documents.

               § 9.1,3 The Contractor is not required to ascertain that the Contract Documents are in accordance with applicable laws,
               statutes, ordinances, codes, rules and regulations, or lawful orders of public authorities, but the Contractor shall
               promptly report to the Arekiteet-Owner aitv nonconformity discovered by or made known to the Contractor as a
               request for information in such form as the Architect may reflutre.Owner may require. Notwithstanding the preceding
               sentence. Contractor shall perform its Work consistent with and in accordance with applicable laws, ordinances,
               codes, rules and regulations as well as with all applicable industry standards set forth in the Plans and Specifications
               pertaining to the construction.



               § 9.2.1 The Contractor shall supervise and direct the Work, using the Contractor’s best skill and attention. Contractor
               shall assign a full time, qualified superintendent to oversee the Work, who shall be present at all times when
               Contractor’s forces or those of its subcontractors are present. The Contractor shall be solely responsible for and have
               control over construction means, methods, techniques, sequences, and procedures, and for coordinating'all portions of
               the Work under the Contract, unless the Contract Documents give other specific instructions concerning these matters.
               PAGE 11

               § 9.3.1 Unless otherwise provided in the Contract Documents, the Contractor shall provide and pay for labor,
               materials, equipment, tools, construction equipment and machinery, wateivheatrutilitiesy-transportation, and other
               facilities and services necessary for proper execution and completion of the Work whether temporary or permanent
               and whether or not incorporated or to be incorporated in the Work.

               § 9.3.2 The Contractor shall enforce strict discipline and good order among the Contractor’s employees and other
               persons carrying out the Work. The Contractor shall not permit employment of unfit persons or persons not skilled in
               tasks assigned to them. Contractor shall require its forces and those of its subcontractors to comply with all worksite
               requirements of the Owner and shall protect Owner’s property from damage during the performance of the Work.

               § 9.3.3 The Contractor may make a substitution only with the consent of the OwHeiyafter evah-tation by the Architect
               Owner and in accordance with a Modification.



               The Contractor warrants to the Owner and-Arehitect that materials and equipment furnished under the Contract will be
               of good quality and new unless the Contract Documents require or permit otherwise. The Contractor further warrants
               that the Work will conform to the requirements of the Contract Documents and will be free from defects, except for
               those inherent in the quality of the Work the Contract Documents require or p&HTHtr-permit for a period of one year
               from the Date of Substantial Completion. Work, materials, or equipment not conforming to these requirements may be
               considered defective. The Contractor’s warranty excludes remedy for damage or defect caused by abuse, alterations to
               the Work not executed by the Contractor, improper or insufficient maintenance, improper operation or normal wear
               and tear under normal usage. All other warranties required by the Contract Documents shall be issued in the name of
               the Owner, or shall be transferable to the Owner, and shall commence in accordance with Section 1.5.6.3.



              The Contractor shall include in the Contract Sum all allowances stated in the Contract Documents. The Owner shall
              select materials and equipment under allowance.s with reasonable promptness. Allowance amounts shall include the
              costs to the Contractor of materials and equipment delivered at the site and all required taxes, less applicable trade
              discounts. Contractor’s costs for unloading and handling at the site, labor, installation, overhead, profit, and other
              expenses contemplated for stated allowance amounts shall be included in the Contract Sum but not in the allowance.
              Unused portions of Owner Allowances will be returned to the Owner as a deduct change order less the value of the
              Contractor’s Fee.




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               § 9.8.1 The Contractor, promptly after being awarded the Contract, shall submit for the Owner’s aiHbA-refi-ileet’-s
               information a Contractor’s construction schedule for the Work. The schedule shall not exceed time limits current
               under the Contract Documents, shall be revised at appropriate intervals as required by the conditions of the Work and
               Project, shall be related to the entire Project to the extent required by the Contract Documents, and shall provide for
               expeditious and practicable execution of the Work. In the event of any delays to the project schedule which are not
               subject to a time extension or otherwise excusable under the terms of the Contract, the Contractor shall promptly
               provide upon request by the Owner or the Construction Manager a make-up schedule providing for completion at
               Contractor’s cost, of the work within the Contract duration.

               § 9.8.2 The Contractor shall perform the Work in general accordance with the most recent schedule submitted to the
               Owner and^AfehfteetT-at time of Notice to Proceed and as adjusted thereafter by contract progress and / or
               modification.
               PAGE 12

               § 9.9.1 The Contractor shall review for compliance with the Contract Documents and submit to-the ArchrteeTin a
               timely fashion with sufficient time for review without affecting the Project Schedule, to the Owner Shop Drawings,
               Product Data, Samples, and similar submittals required by the Contract Documents together with any requests for
               information, in coordination with the Contractor’s construction schedule and in such sequence as to allow the
               TWelttfeeFreasonable time for revfewr-Ownerreasonable time for review. Contractor shall identify all long lead
               material or equipment and shall include such lead times within its Project Schedule. By submitting Shop Drawings,
               Product Data, Samples, and similar submittals, the Contractor represents to the Owner and-Areh+teet-that the
               Contractor has (1) reviewed and approved them; (2) determined and verified materials, field measurements, and field
               construction criteria related thereto, or will do so; and (3) checked and coordinated the information contained within
               such submittals with the requirements of the Work and of the Contract Documents. The Work shall be in accordance
               with approved submittals. In the event that Contractor issues a submittal for the Owner review that proposes changes
               from the Contract Documents. Contractor shall advise and identify any such deviations as part of the submittal and
               shall provide any information requested by the Owner to support the request foi- approval of such submittal.



               § 9.9.3 The Contractor shall not be required to provide professional services that constitute the practice of architecture
               or engineering unless such services are specifically required by the Contract Documents or unless the Contractor
               needs to provide such services in order to carry out the Contractor’s own responsibilities. If professional design
               services or certifications by a design professional are specifically req-ufred^t-be-Qwner-and-the'Architect required by
               the Contract Documents, the Owner will specify the performance and design criteria that such services must satisfy.
               The Contractor shall cause such services or certifications to be provided by an appropriately licensed design
               professional. If no criteria are specified, the design shall comply with applicable code,s and ordinances. Each Party
               shall be entitled to rely upon the information provided by the other Party. The ArchiteefOwner will review and
               approve or take other appropriate action on submittals for the limited purpose of checking for conformance with
               information provided and the design concept expressed in the Contract Documents. The Arehfteefe-Owiier’s review
               of Shop Drawings, Product Data, Samples, and similar submittals shall be for the limited purpose of checking for
               conformance with information given and the design concept expressed in the Contract Documents. In performing such
               review, the Architeet-Owner will approve, or take other appropriate action upon, the Contractor’s Shop Drawings,
               Product Data, Samples, and similar submittals.



              The Contractor shall confine operations at the site to areas permitted by applicable laws, statutes, ordinances, codes,
              rules and regulations, lawful orders of public authorities, and the Contract Documents and shall not unreasonably
              encumber the site with materials or equipment. The Contractor shall observe all site use limitations and restrictions as
              may be required by the Landlord and shall not interfere with Landlord’s use of it.s property.



              The Contractor shall provide the Owner and Architect Owner, the Landlord with access to the Work in preparation
              and progress wherever located.
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               The Contractor shall pay all royalties and license fees. The Contractor shall defend suits or claims for infringement of
               copyrights and patent rights and shall hold the Owner and-Arehiteet-harmless from loss on account thereof, but shall
               not be responsible for defense or loss when a particular design, process, or product of a particular manufacturer or
               manufacturers is required by the Contract Documents or where the copyright violations are contained in Drawings,
               Specifications or other documents prepared by the Owner or ArchiteeF-^^However, if an infringement of a copyright or
               patent is discovered by, or made known to, the Contractor, the Contractor shall be responsible for the loss unless the
               information is promptly furnished to the Architect.Owner.




               § 9.15 .1 To the fullest extent permitted by law, the Contractor shall indemnify and hold harmless the Owner,
               Architect. Ai'chiteet’s consultants. Landlord , and agents and employees of any of them from and against claims,
               damages, losses and expenses, including but not limited to attorneys’ fees, arising out of or resulting from
               performance of the Work, provided that such claim, damage, loss, or expense is attributable to bodily injury, sickness,
               disease or death, or to injury to or destruction of tangible property (other than the Work itself), but only to the extent
               caused by the negligent acts or omissions of the Contractor, a Subcontractor, anyone directly or indirectly employed
               by them, or anyone for whose acts they may be liable, regardless of whether or not such claim, damage, loss, or
               expense is caused in part by a party indemnified hereunder. Such obligation shall not be construed to negate, abridge,
               or reduce other rights or obligations of indemnity which would otherwise exist as to a party or person described in this
               Section 9.15.1.




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                § 9.15 .3 To the fullest extent permitted by law, the Contractor shall indemnify' and hold harmless the Owner, Landlord
                and its agents and employees of any of them from and against claims, damages, losses and expenses, including but not
                limited to attorneys’ fees, arising out any claims by its subcontractors or suppliers for payment for work, services .
                labor materials or equipment provided to the Contractor for the performance of the Work under this Contract where
               Owner has paid Contractor for such work, services, labor, materials or equipment or where such is being sought as
               extra or changed work on the part of the subcontractor or supplier which has not been subject of a Change Order or
               Change Directive issued under Article 13, ora Claim, as issued under Chapter 21, of this Contract.


               ARTICLE 10    OWNER AS CONTRACT ADMINISTRATOR
               § 10.1 The Architect Owner will provide administration of the Contract as described in the Contract Documents and
               will be an Owner’s representati-ve during construction, until the date the AFchitect-issues-the-final-Gert-i-fi&ate-foF
               Taym-eittAThe-A rehiteet- ill have authority to act on behalf of the Owner only to the ex4eHt-pFevided-4H-the-Contract
               Beeum-eHtSrUirless-et-herwi-se-med-ifiefl-i-n-WFi-ti+rg-iti-aseordaflee-wt-h-other-prav+sloHS-of-the-CoiitFaet-.-




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              § 10.3 The Architect Owner will visit the site at intervals appropriate to the stage of the construction to become
              generally familiar with the progress and quality of the portion of the Work completed, and to determine in general, if
              the Work observed is being performed in a manner indicating that the Work, when fully completed, will be in
              accordance with the Contract Documents. However, the Architeet-Owner will not be required to make exhaustive or
              continuous on-site inspections to check the quality or quantity of the Work. The Arehtteet-Owner will not have control
              over, charge of, or responsibility for the construction means, methods, techniques, sequences, or procedures, or for
              safety precautions and programs in connection with the Work, since these are solely the Contractor’s rights and
              responsibilities under the Contract Documents.

              § 10.4 On the basis of the site visits, the AFehiteetws'ill keep the-Owner^Owner will be reasonably informed about the
              progress and quality of the portion of the Work completed, and promptly report to the OwneF-Conlractor (11 known
              deviations from the Contract Documents, (2) known deviations from the most recent construction schedule submitted
              by the Contractor, and (3) defects and deficiencies observed in the Work. The Arehiteet-Owner will not be responsible

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                for the Contractor’s failure to perform the Work in accordance with the requirements of the Contract Documents. The
                A-reh-iteet-Owner will not have control over or charge of and will not be responsible for acts or omissions of the
                Contractor, Subcontractors, or their agents or employees, or any other persons or entities performing portions of the
                Work.

                § 10.5 Based on the A-rehtteet^-Owner’s evaluations of the Work and of the Contractor’s Applications for Payment,
                the Architect Owner will review and certify the amounts due the Contractor and will issue Certificates-for Payment in
                such amounts.

                § 10.6 The Afehiteet-has-Owner has the authority to reject Work that does not conform to the Contract Documents
                and to require inspection or testing of the Work.

                § 10.7 The Architect Owner will review and approve or take other appropriate action upon, the Contractor’s submittals
                such as Shop Drawings, Product Data, and Samples, but only for the limited purpose of checking for conformance
                with information given and the design concept expressed in the Contract Documents.



               all claims, disputes, and other matters in qaestioit-between the Owner-and-C-ontraet-ei^uf-will not-be-liable-foF-r-esulte
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               § 10.9 The Arehiteefe-Owner’s decisions on matters relating to aesthetic effect will be final if consistent with the
               intent expressed in the Contract Documents.
               PAGE 14

               § 11.2 Unless otherwise stated tn the Contract Documents, the Contractor, as soon as practicable after award of the
               Contract, shall notify the Owner aftd-A4=6h+teeTof the Subcontractors or suppliers proposed for each of the principal
               portions of the Work. The Contractor shall not contract with any Subcontractor or supplier to whom the Owner or
               Architect has made reasonable written objection within ten-five days after receipt of the Contractor’s list of
               Subcontractors and suppliers. If the proposed but rejected Subcontractor was reasonably capable of performing the
               Work, the Contract Sum and Contract Time shall be increased or decreased by the difference, if any, occasioned by
               such change, and an appropriate Change Order shall be issued before commencement of the substitute Subcontractor’s
               Work. The Contractor shall not be required to contract with anyone to whom the Contractor has made reasonable
               objection.

               § 11.3 Contracts between the Contractor and Subcontractors shall (1) require each Subcontractor, to the extent of the
               Work to be performed by the Subcontractor, to be bound to the Contractor by the terms of the Contract Documents,
               and to assume toward the Contractor all the obligations and responsibilities, including the responsibility for safety of
               the Subcontractor’s Work, which the Contractor, by the Contract Documents, assumes toward the Owner arrd
               Architect, ,_and (2) allow the Subcontractor the benefit of all rights, remedies and redress against the Contractor that
               the Contractor, by these Contract Documents, has against the Owner.

               § 11.4 Upon request by Owner through the Construction Manager, Contractor shall provide copies of subcontractor
               certificates of insurance to the Owner and shall require subcontractors to add the Owner, its Designee, and/or
               Landlord to the policies as "additional insureds" with primary and non-contributory coverage.

               § 11.5 For any trade requiring a government issued license or registration, Contractor shall only engage licensed or
               registered subcontractors to perform that Work.



               § 12.1. 1 The parties understand and agree that the Owner will engage contractors to perform separate work functions.
               Contractor shall provide for and allow staging and access to the site for their work as set for the below and shall
               include their work within the Project Schedule and coordinate the scheduling of such separate contractors.

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               § 13.1 By appropriate Modification, changes in the Work may be accomplished after execution of the Contract. The
               Owner, without invalidating the Contract, may order changes in the Work within the general scope of the Contract
               consisting of additions, deletions, or other revisions, with the Contract Sum and Contract Time being adjusted
               accordingly. Such changes in the Work shall be authorized by written Change Order signed by the Owner, Contr-actor;
               and Arehiteet—and Contractor or by written Construction Change Directive signed by the Owner and Architeefe
               Owner. Upon issuance of the Change Order or Construction Change Directive, the Contractor shall proceed promptly
               with such changes in the Work, unless otherwise provided in the Change Order or Construction Change Directive. A
               signed Change Order shall be deemed final for all changed, added or deleted Work and all schedule impacts associated
               with the described Work,

               § 13.2 Adjustments in the Contract Sum and Contract Time resulting from a change in the Work shall be determined
               by mutual agreement of the parties or, in the case of a Construction Change Directive signed only by the Owner and
               Arehiteet-^by the Contractor’s cost of labor, material, equipment, and reasonable overhead and profit, unless the
               parties agree on another method for determining the cost or credit. Pending final determination of the total cost of a
               Construction Change Directive, the Contractor may request partial payment for Work completed pursuant to the
               Construction Change Directive. The Architect-Owner will make an interim determination of the amount of payment
               due for purposes of certifying the Contractor’s monthly Application for Payment. When the Owner and Contractor
               agree on adjustments to the Contract Sum and Contract Time arising from a Construction Change Directive, the
               AF61wteeTw-iti-pi=epare-a €haitge-€>FdeivContractor will prepare a Change Order for Owner Review and Approval.
               Such approval shall not be unreasonably withheld. Failure to agree upon a price for increased or decreased cost, or a
               dispute over whether or not the disputed work is changed or within Contractor’s scope of work under this Contract
               shall not excuse the Contractor from performing as directed and the parties reserve the right to file a Claim under the
               terms of this Contract.

               § 13.3 The Arehiteet-Owner will have authority to order minor changes in the Work not involving adjustment in the
               Contract Sum or extension of the Contract Time and not inconsistent with the intent of the Contract Documents. Such
               changes shall be effected by written order and shall be binding on the Owner and Contractor. The Contractor shall
               carry out such written orders promptly. If the Contractor believes that the proposed minor change in the Work will
               affect the Contract Sum or Contract Time, the Contractor shall notify the Arehit-eet-Owner and shall not proceed to
               implement the change in the-Weri^the Work until it receives a written directive, at which time it shall promptly
               proceed with the identified Work even if there is disagreement as to the cost or time impact, which shall be addressed
               through a Claim as set for the herein.

               § 13.4 If concealed or unknown physical conditions are encountered at the site that differ materially from those
               indicated in the Contract Documents or from those conditions ordinarily found to exist, the Contract Sum and Contract
               Time shall be equitably adjusted as mutually agreed between the Owner and Contractor; provided that the Contractor
               provides notice to the Owner aiMl-Arelwteet-promptly and before conditions are disturbed.



               § 14.4 The date of Substantial Completion i.s the date certified by the Architect Owner in accordance with Section
               15.6..3.

              § 14.5 Ifthe Contractor is delayed at any time in the commencement or progress of the Work by (1) changes ordered in
              the Work; (2) by labor disputes, fire, unusual delay in deliveries, abnormal adverse weather conditions not reasonably
              anticipatable, unavoidable casualties, or any causes beyond the Contractor’s control; or (3) by other causes that the
              Contractor asserts, and the A-r-ehiteet-Owner determines, justify delay, then the Contract Time shall be extended for
              such reasonable time as the Architect may-Owner and Contractor may mutually determine, subject to the provisions of
              Article 21. The extension of time shall be the exclusive remedy for the contractor and under no circumstances shall
              owner be subject to increased costs to the Contractor associated with any such delays, unless Owner, its agents or
              representatives, the Government or Landlord caused the delay


              § 14.6 COVlD-19. The Owner and Contractor acknowledge the present and ongoing circumstances regarding the
              novel coronavirus ! CO’v'lD-19 pandemic ("COVlD-19"~). The Contractor represents to the Owner that it has
              considered and planned for the Work under these present conditions, and agrees to perform it for the Contract Sum and
              within the Contract Time - subject to ad justments as provided in this Agreement for non-COVID-19 changes, if any -
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               based on information currently reasonably available concerning COVID-19, including but not limited to relevant
               health and safety regulations and restrictions. In the event the Contractor contends that changes after the date of this
               Agreement to the COVID-19-related laws, rules, orders, regulations, or directions by any governmental authority with
               jurisdiction over the Project will impact the Work, including any potential savings or schedule expediting, the
               Contractor will immediately notify the Owner in writing with a description of the potential impacts and the Contract
               Time and Contract Sum will be equitably adjusted for such changes to the COVlD-19-related laws, rules, orders,
               regulations, or directions. Additionally, if a Subcontractor, Sub-subcontractor or supplier must cease operations or
               otherwise cannot progress its work as anticipated due to the impacts of COVID-19, such resulting delay to the progress
               of the Work shall be considered a Force Majeure Delay.

               In order to assure that the Contractor and its subcontractors are adhering to CPC guidelines and the directions by local
               health officials, the Owner and Contractor hereby agree to act together in good faith to address the requirements of the
               situation including, but not limited to, any need to review the Project schedule, create a logistics plan, or other special
               jobsite procedures. Notwithstanding the foregoing, the Contractor shall be solely responsible for implementing these
               procedures in addition to its already existing health and safety requirements. The Contractor shall report to the Owner
               weekly during the pendency of the COVlD-19 pandemic on the jobsite conditions and the Contractor’s ongoing
               efforts to ensure compliance with these measures. Notwithstanding the foregoing, the Owner will not have any control
               over the Contractor’s means and methods of construction.

               PAGE 16

               § 15.1.1 Where the Contract is based on a Stipulated Sum or the Cost of the Work with a Guaranteed Maximum Price
               pursuant to Section 3.2 or 3.4, the Contractor shall submit a schedule of values to the Arehiteet-Owner before the first
               Application for Payment, allocating the entire Stipulated Sum or Guaranteed Maximum Price to the various portions
               of the Work. The schedule of values shall be prepared in the form, and supported by the data to substantiate its
               accuracy required by the Ar-ehiteefe-Owner. This schedule of values shall be used as a basis for reviewing the
               Contractor’s Applications for Payment.

               § 15.1.2 The allocation of the Stipulated Sum or Guaranteed Maximum Price Cost of the Work under this Section 15.1
               shall not constitute a separate stipulated sum or guaranteed maximum price for each individual line item in the
               schedule of values.

               §-4^.-2-GontrQl—Estimate
               §15.2.1-Where the Contract Sum is the Cost of the Werki -plus the Contraetoi-’-s-Pee-without-a-Guaranteed Maximum

               of executiflg-tlt-is-A-greement. The-Centroi-^jmate shall include the estimated Cost of the-Werk-phis-the-Gontractoi-’-s
               Peer

               § 15.2.2 The Control Estimate shall include:
                        t4--------- the documents enumerated in Article 6i-ineludtng alLModifieations theretot

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              §-1-5i2-.3 -W-hen th&-Gontrol Estimate is acceptable to-the-Qvimei-and-A-rehiteetrthe-Owner shall acknowledge it in

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              § 15.2.4 The Contractor shall develop and implement a detailed system of cost control that will provide the Owner and
              Architect with timely information as to the anticipated total Cost of the Work. The cost control system shall compare

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               the Sefrtfel Estimate Stipulated Sum Price cost breakdown (Exhibit "B") with the actual cost for activities in progress
               and estimates for uncompleted tasks and proposed changes. This information shall be reported to the Owner, in
               writing, no later than the Contractor’s first Application for Payment and shall be revised and submitted with each
               Application for Payment.

               §15.2.5 The Ow     ihaH-authorize-preparation of revisions to the Contract-Docui'nents that incorporate the
               agreed-upoH-assumptions-eentatned- in-the Control Estimate. The Owner shall promptly-fumish-sueh-rcvised Contraet

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               § 15.3.1 At-least ten days before the date estabhshed-for-sach progress-pawient-.-On the first business day of each
               month, the Contractor shall submit to the Arehtteet-Owner an itemized Application for Payment prepared in
               accordance with the schedule of values, if required under Section 15.1, for completed portions of the Work. The
               application shall be notarized, if required; be supported by all data substantiating the Contractor’s right to payment
               that the Owner or Architect FeotweF-require, including all subcontractor work and invoices for work encompassed
               within the application; shall reflect retainage if provided for in the Contract Documents; and include any revised cost
               control information required by Section 15.2.4. Applications for Payment shall not include requests for payment for
               portions of the Work for which the Contractor does not intend to pay a Subcontractor or supplier, unless such Work
               has been performed by others whom the Contractor intends to pay. Contractor shall provide lien waivers with each
               application for payment, including for progress and final applications.

               § 15.3.2 With each Application for Payment where the Contract Sum is based upon the Cost of the Work, or the Cost of
               the Work with a Guaranteed Maximum Price, the Contractor shall submit payroHsy-^petty cash accounts, receipted
               invoices or invoices with check vouchers attached, and any other evidence required by the Owner to demonstrate that
               cash disbursements already made by the Contractor on account of the Cost of the Work equal or exceed progress
               payments already received by the Contractor plus-payrolte-for the period covered by the present Application for
               Payment, less that portion of the progress payments attributable to the Contractor’s Fee.
               PAGE 17

               § 15.4.1 The ArehiteefOwner will, within seven days after receipt of the Contractor’s Application for Payment, either
               issue to-the-Owner a Certificate forfayment. with-a-oopv-a Certificate for Payment to the Contractor, for such amount
               as the Architect Owner determines is properly due, or notify the Contractor ai«l-Ovffl€W)f the A-rehitoetVOwner’s
               reasons for withholding certification in whole or in part as provided in Section 15.4.3. No certificate for payment shall
               be effective unless and until the Contractor shall provide for itself and for subcontractors performing work or primary
               suppliers providing materials or equipment encompassed within the payment application a waiver and release of lien
               for prior work performed or materials and equipment provided and for the work, materials and equipment in the
               payment application, subject only to Owner’s payment of the instant application.

              § 15.4.2 The issuance of a Certificate for Payment will constitute a representation by the Architect to the-Owner,
              based on the Ai=6h-iteefs-0wner’s evaluations of the Work and the data in the Application for Payment, that, to the
              best of the -Arehiteet^-Owner’s knowledge, information, and belief, the Work has progressed to the point indicated,
              the quality of the Work is in accordance with the Contract Documents, and the Contractor is entitled to payment in the
              amount certified. Following review of a Payment Application, the Owner will identify the amount of the Application
              which is approved and provide Notice to the Contractor of any disapproved sums no later than twenty (20~) days after
              receipt of the Application by it or its designee. The foregoing representations are subject to an evaluation of the Work
              for conformance with the Contract Documents upon Substantial Completion, to results of subsequent tests and
              inspections, to correction of minor deviations from the Contract Documents prior to completion and to specific
              qualifications expressed by the AFeh-i-test-;-Owner. However, the issuance of a Certificate for Payment will not be a
              representation that the AreftkeeTOwner has (1) made exhaustive or continuous on-site inspections to check the quality
              or quantity of the Work; (2) reviewed construction means, methods, techniques, sequences, or procedures; (3)
              reviewed copies of requisitions received from Subcontractors and suppliers and other data requested by the Owner to
              substantiate the Contractor’s right to payment; or (4) made examination to ascertain how or for what purpose the
              Contractor has used money previously paid on account of the Contract Sum.

              § 15.4.3 The ■Architect-Owner may withhold a Certificate for Payment in whole or in part, to the extent reasonably
              necessary to protect the Owner, if in the Aroh-iteofe-Owner’s opinion the representations to the Owner required by
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              Section 15.4.2 cannot be made. If the A-rehlteet-Owner is unable to certify payment in the amount of the Application,
              the -Ai^eh-iteeFOwner will notify the Contractor and Ownei^as provided in Section 15,4.1, If the Contractor and the
              Afchiteet Owner cannot agree on a revised amount, the Ar--elHteet-Owner will promptly issue a Certificate for Payment
              for the amount for which the Afchlteet-Owner is able to make such representations to-the-Qwner-.-Thc-A-i=ehiteGt-. The
              Owner may also withhold a Certificate for Payment or, because of subsequently discovered evidence, may nullify the
              whole or a part of a Certificate for Payment previously issued, to such extent as may be necessary in the Architect’s
              Owner’s opinion to protect the Owner from loss for which the Contractor is responsible, including loss resulting from
              acts and omissions described in Section 9,2,2, because of
              PAGE 18

                          .5     damage to the O^met^Owner, Landlord or a Separate Contractor;



                         .7   repeated failure to carry out the Work in accordance with the Contract Documents,
                         ,8 the filing of any lien by a subcontractor or supplier to the Contractor or to a subcontractor of the
                         Contractor on work previously paid for by or on behalf of the Owner or for work not subject to an approved
                         change order by the Owner,
                         ,9    rejection by the landlord or lender of Work in place encompassed within the application,

              § 15.4.4 When either partv-the Contractor disputes the Aiehitect’s Owner’s decision regarding a Certificate for
              Payment under Section 15.4.3, in whole or in part, that party may submit a Claim in accordance with Article 21.



              § 15.5.2 NcIther-the-Qwner-ner-Arehitect shall-The Owner shall not have an obligation to pay or see to the payment of
              money to a Subcontractor or supplier except as may otherwise be required by law.

              § 15.5.3 A Certi-fi-eate^QF-PaymenC-a-progress payment, or partial or entire use or occupancy of the Project by the
              Owner shall not constitute acceptance of Work not in accordance with the Contract Documents.

              § 15.5.4 Provided the Ovi'ner has fulfilled its payment obligations with respect to the work that is subject to a filed lien
              under the Contract Documents, the Contractor shall defend and indemnify the Owner from all loss, liability, damage
              or expense, including reasonable attorney’s fees and litigation expenses, arising out of any lien claim or other claim for
              payment by any Subcontractor or supplier of any tier. Upon receipt of notice of a lien claim or other claim for
              payment, the Owner shall notify the Contractor. If approved by the applicable court, when required, the Contractor
              may substitute a surety bond for the property against which the lien or other claim for payment has been asserted.



              § 15.6.1 Substantial Completion is the stage in the progress of the Work when the Work or designated portion thereof
              is sufficiently complete in accordance with the Contract Documents so that the Owner can occupy or utilize the Work
              for its intended use. Unless agreed to otherwise in writing, substantial completion shall not occur prior to the issuance
              of a conditional certificate of occupancy, allowing Owner to fully occupy the premises for its intended business.

              § 15.6.2 When the Contractor considers that the Work, or a portion thereof which the Owner agrees to accept
              separately, is substantially complete, the Contractor shall prepare and submit to the A-rel^iteet-Owner a comprehensive
              list of items to be completed or corrected prior to final payment. Failure to include an item on such list does not alter
              the responsibility of the Contractor to complete all Work in accordance with the Contract Documents.

              § 15.6.3 Upon receipt of the Contractor’s list, the Architect-Owner will make an inspection to determine whether the
              Work or designated portion thereof is substantially complete. When the ArrehlteefOwner determines that the Work or
              designated portion thereof is substantially complete, the A-rehlteet-Owner will issue a Certificate of Substantial
              Completion which shall establish the date of Substantial Completion; establish responsibilities of the Owner and
              Contractor for security, maintenance, heat, utilities, damage to the Work and insurance; and fix the time within which
              the Contractor shall finish all items on the list accompanying the Certificate. Warranties required by the Contract


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               Documents shall commence on the date of Substantial Completion of the Work or designated portion thereof unless
               otherwise provided in the Certificate of Substantial Completion.

               § 15.6.4 The Ceitifieate-Notice of Substantial Completion shall be submitted to the Owner and-bv the Contractor for
               theh^written acceptance of responsibilities assigned to them in the Certificate:-Notice. Upon such acceptance and
               consent of surety, if any, the Owner shall make payment of retainage applying to the Work or designated portion
               thereof. Such payment shall be adjusted for Work that is incomplete or not in accordance with the requirements of the
               Contract Documents. In the event of liquidated damages associated with delay to reaching the substantial completion
               date, such shall, if not previously deducted, be deducted from the net retainage sum to be released to the Contractor.
               PAGE 19

               § 15.7.1 Upon receipt of the Contractor’s notice that the Work is ready for final inspection and acceptance and upon
               receipt of a final Application for Payment, the Architect Owner will promptly make such inspection and, when the
               Ar&hiteGt-fiB4s-tlte-A\^i'k: acceptable-Owner finds the Work acceptable, including compliance with any lender or
               Landlord requirements, under the Contract Documents and the Contract fully performed, the Architect will promptly
               issue--a-final-Certificate for Payment-stating thiat te -the best of the Architeet-^enewledge, information and belief, and
               en-the-basis- of the Architect’s on site-visits -and inspeetienSyAhe-Work has been completed in accordance with the
               Contract Documents and that the entire balance found to be due the Contractor «and-n©ted-in-the-final-Gertifie-ate-i&-4i-ie
               and pavabler-Fhe-A-re-hitect’s final Certificate for Payment is due and payable. The Owner’s acceptance of the Work
               will constitute a further representation that conditions stated in Section 15.7.2 as precedent to the Contractor’s being
               entitled to final payment have been fulfilled. Any such final payment shall be reduced by liquidated damages for Final
               completion as identified in 63.5. Unless otherwise agreed to in writing by the parties and/or required work from
               Owner’s separate contractors is still incomplete, final completion shall not occur prior to issuance of a final,
               unconditional certificate of occupancy.

               § 15.7.2 Final payment shall not become due until the Contractor has delivered to the Owner a complete set of as-built
               documents, warranties, list of subs and a complete release of all liens arising out of this Contract or receipts in full
               covering all labor, materials and equipment for which a lien could be filed, or a bond satisfactory to the Owner to
               indemnify' the Owner against such lien. If such lien remains unsatisfied after payments are made, the Contractor shall
               refund to the Owner all money that the Owner may be compelled to pay in discharging such lien, including costs and
               reasonable attorneys’ fees.



                          .3     terms of special warranties required by the Contract Documents; er
                          .4     audits performed by the Owner, if permitted by the Contract Documents, after final pavment.payment;
                                 or
                          .5     as otherwise set forth in Section 9.15
              PAGE 20

                          .3     other property at the site or adjacent thereto, such as trees, shrubs, lawns, walks, pavements, roadways,
                                 structures and utilities not designated for removal, relocation, or replacement in the course of
                                 const r-ue-t-ien-.construction;
                           .4    Landlord’s property

              The Contractor shall comply with, and give notices required by, applicable laws, statutes, ordinances, codes, rules and
              regulations, and lawful orders of public authorities bearing on safety of persons and property and their protection from
              damage, injuiy, or loss. The Contractor shall promptly remedy damage and loss to property caused in whole or in part
              by the Contractor, a Subcontractor, a sub-subcontractor, or anyone directly or indirectly employed by any of them, or
              by anyone for whose acts they may be liable and for which the Contractor is responsible under Sections 16.1.2 and
               16.1.3. The Contractor may make a claim for the cost to remedy the damage or loss to the extent such damage or loss
              is attributable to acts or omissions of the Owner ©i-AreltiteeFor by anyone for whose acts either of them may be liable,
              and not attributable to the fault or negligence of the Contractor. The foregoing obligations of the Contractor are in
              addition to the Contractor’s obligations under Section 9.15.




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                § 16.2.1 The Contractor is responsible for compliance with the requirements of the Contract Documents regarding
               hazardous materials or substances. If the Contractor encounters a hazardous material or substance not addressed in the
               Contract Documents, and if reasonable precautions will be inadequate to prevent foreseeable bodily injury or death to
               persons resulting from a material or substance, including but not limited to asbestos or polychlorinated biphenyl
               (PCS), encountered on the site by the Contractor, the Contractor shall, upon recognizing the condition, immediately
               stop Work in the affected area and notify the Owner and Architect of the condition. When the material or substance
               has been rendered harmless. Work in the affected area shall resume upon written agreement of the Owner and
               Contractor. By Change Order, the Contract Time shall be extended appropriately and the Contract Sum shall be
               increased in the amount of the Contractor’s reasonable additional costs of shutdown, delay, and start-up. Knowing
               failure on the part of the Contractor or its subcontractors to provide Owner with notice of encountering hazardou;;
               materials or substances or knowing failure of the Contractor or its subcontractors to cease work upon encountering
               hazardous materials or substances shall be at Contractor’s sole risk for damages and delays resulting therefrom.

               § 16.2.2 To the fullest extent permitted by law, the Owner shall indemnify and hold harmless the Contractor,
               Subcontractors, ArelHteetrAi=elHte©te-eeHSttltafrts^and agents and employees of any of them from and against claims,
               damages, losses, and expenses, including but not limited to attorneys’ fees, arising out of or resulting from
               performance of the Work in the affected area, if in fact, the material or substance presents the risk of bodily injury or
               death as described in Section 16.2.1 and has not been rendered harmless, provided that such claim, damage, loss, or
               expense is attributable to bodily injury, sickness, disease or death, or to injtiiy to or destruction of tangible property
               (other than the Work itself), except to the extent that such damage, loss, or expense is due to the fault or negligence of
               the party seeking indemnity.



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               ARTICLE 17    INSURANCE
               PAGE 21

               § 17.1.2. Commercial General Liability insurance for the Project written on an occurrence form with policy limits of not less
               than (-S ) each occtirrenee; - ($ ) general aggregate, and ($ One Million Dollars ($ 1.000.000.00 ) each occurrence.
               Two Million Dollars ($ 2.000.000.00 ) general aggregate, and Two Million Dollars (S 2.000.000.00 ) aggregate for
               products-completed operations hazard, providing coverage for claims including



               § 17.1.3 Automobile Liability covering vehicles owned by the Contractor and non-owned vehicles used by the
               Contractor, with policy limits of not less than One Million Dollars ($ 1.000.000.00 ) per accident, for bodily injury,
               death of any person, and property damage arising out of the ownership, maintenance, and use of those motor vehicles
               along with any other statutorily required automobile coverage.




               § 17.1.6 Employers’ Liability with policy limits not less than One Million Dollars ($ 1.000.000.00 ) each accident.
               One Million Dollars (S 1,000.000.00 ) each employee, and One Million Dollars ($ 1.000.000.00 ) policy limit.

               § 17.1.7 If the Contractor is required to furnish professional services as part of the Work, the Contractor shall procure
               Professional Liability insurance covering performance of the professional services, with policy limits of not less than
                 —) per claim and—($—Tifl-the-ag-gi-e-gale-Two Million Dollars ($ 2.000.000.00 ) per claim.




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               aggregater

               § 17,1.10 The Contractor shall provide certificates of insurance acceptable to the Owner evidencing compliance with
               the requirements in this Section 17.1 at the following times: (1) prior to commencement of the Work; (2) upon renewal
               or replacement of each required policy of insurance; and (3) upon the Owner’s written request. An additional
               certificate evidencing continuation of liability coverage, including coverage for completed operations, shall be
               submitted with the final Application for Payment and thereafter upon renewal or replacement of such coverage until
               the expiration of the period required by Section 17.1.1. The certificates will show the Owner and Landlord as an
               additional insured on a primary and non-contributory basis on the Contractor’s Commercial General Liability and
               excess or umbrella liability policy. Upon written request by the Owner, Contractor shall provide a full copy of any or
               all of the above policies or coverage endorsements including all endorsements.



               § 17.1.12 To the fullest extent permitted by law, the Contractor shall cause the commercial liability coverage required
               by this Section 17.1 to include (1) the OwneM-he ArchiteeL-and-the Architect’s Consultants-Owner as additional
               insureds for claims caused in whole or in part by the Contractor’s negligent acts or omissions during the Contractor’s
               operations; and (2) the Owner as an additional insured for claims caused in whole or in part by the Contractor’s
               negligent acts or omissions for which loss occurs during completed operations. The additional insured coverage shall
               be primary and non-contributory to any of the Owner’s general liability insurance policies and shall apply to both
               ongoing and completed operations. To the extent commercially available, the additional insured coverage shall be no
               less than that provided by Insurance Services Office, Inc. (ISO) forms CG 20 10 07 04, CG 20 37 07 04, and, with
               respect to the Architect and the Architect’s Consultants, CG 20 32 07 04. If this level of coverage cannot be provided
               Owner shall have the election to (a) terminate this Contract, (b) obtain such additional coverage and charge the
               Contract balance for the cost of such, or (c) waive such portions of the above coverage as cannot be obtained and
               proceed with the contract. The same options shall be available to the Owner if the CGL Policy includes exclusions or
               limitations to coverage that are contrary to exclusion terms that have been approved by the Department of Insurance
               for the state in which the Project is being constructed, which effectively eliminate insurance coverage for the particular
               premises, or which are less than any insurance requirements placed upon the Project by the Landlord.
               PAGE 22

                          Excess Liability ("Umbrella")                              S5.000.000 per occurrence and $5,000,000 in the aggregate for
                                                                                     Bodily Injury and Property Damage



               § 17.1.15 Casualty
               In the event of a casualty during construction of the Tenant Improvements, the terms of the lease between Owner and
               Landlord shall govern the distribution of any insurance proceed.s resulting therefrom.




              § 17.2.2.1 The Owner Contractor shall purchase and maintain, from an insurance company or insurance companies
              lawfully authorized to issue insurance in the jurisdiction where the Project is located, property insurance written on a
              builder’s risk "all-risks" completed value or equivalent policy form and sufficient to cover the total value of the entire
              Project on a replacement cost basis. The Ownci-s-Contractor’s property insurance coverage shall be no less than the
              amount of the initial Contract Sum, plus the value of subsequent Modifications and labor performed or materials or
              equipment supplied by others. The property insurance shall be maintained until Substantial Completion and thereafter
              as provided in Section 17.2.2.2, unless otherwise provided in the Contract Documents or otherwise agreed in writing
              by the parties to this Agreement. This insurance shall include the interests of the Owner, Contractor, Subcontractors,
              and Sub-subcontractors in the Project as insureds. This insurance shall include the interests of mortgagees as loss
              payees.



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                § 17.2.2.2 Unless the parties agree otherwise, upon Substantial Completion, the OwneFContractor shall continue the
                insurance required by Section 17.2.2.1 or, if necessary, replace the insurance policy required under Section 17.2.2.1
                with property insurance written for the total value of the Project that shall remain in effect until expiration of the period
                for correction of the Work set forth in Section 18.4.

               § 17.2.2,3 If the insurance required by this Section 17.2.2 is subject to deductibles or self-insured retentions, the
               OwHOFContractor shall be responsible for all loss not covered because of such deductibles or retentions.

               § 17.2.2.4 If the Work involves remodeling an existing structure or constructing an addition to an existing structure,
               the OwneFContractor shall purchase and maintain, until the expiration of the period for correction of Work as set forth
               in Section 18.4, "all-risks" property insurance, on a replacement cost basis, protecting the existing structure against
               direct physical loss or damage, notwithstanding the undertaking of the Work. The Owner-Contractor shall be
               responsible for all co-insurance penalties.

               § 17.2.2.5 Prior to commencement of the Work, the Owner-Contractor shall secure the insurance, and provide evidence
               of the coverage, required under this Section 17.2.2 and, upon the Contractor’s Owner’s request, provide a copy of the
               property insurance policy or policies required by this Section 17.2.2. The copy of the policy or policies provided shall
               contain all applicable conditions, definitions, exclusions, and endorsements.

               § 17.2.2.6 Within three (3) business days of the date the Owner-Contractor becomes aware of an impending or actual
               cancellation or expiration of any insurance required by this Section 17.2.2, the Owner-Contractor shall provide notice
               to the Contractor Owner of such impending or actual cancellation or expiration. Unless the lapse in coverage arise.s
               from an act or omission of the Centraetoi^Owner: (1) the Contractor. Owner, upon receipt of notice from the Ownery
               Contractor, shall have the right to stop the Work until the lapse in coverage has been cured by the procurement of
               replacement coverage by either the Owner or the Contractor; (2) the Contract Time and Contract Sum shall be
               equitably adjusted; and (3) the OwneFContractor waives all rights against the CeHtr-aeton Owner. Subcontractors, and
               Sub-subcontractors to the extent any loss to the OwneFContractor would have been covered by the insurance had it not
               expired or been cancelled. If the Oontraeter Owner purchases replacement coverage, the cost of the insurance shall be
               charged to the Owner Contractor by an appropriate Change Order. The furnishing of notice by the OwneFContractor
               shall not relieve the OwneFContractor of any contractual obligation to provide required insurance.
               PAGE 23

               § 17.2.2.7. 1 The Owner and Contractor waive all rights against (1) each other and any of their subcontractors,
              sub-subcontractors, agents, and employees, each of the other; (2) th^Afehitect and Arebitest-’-s consultants; and (3)
              Separate Contractors, if any, and any of their subcontractors, sub-subcontractors, agents, and employees, for damages
              caused by fire, or other causes of loss, to the extent those losses are covered by property insurance required by this
              Agreement or other property insurance applicable to the Project, except such rights as they have to proceeds of such
              insurance. The Owner or Contractor, as appropriate, shall require similar written waivers in favor of the individuals
              and entities identified above from the Architect, Architect’s consultants. Separate Contractors, subcontractors, and
              sub-subcontractors. The policies of insurance purchased and maintained by each person or entity agreeing to waive
              claims pursuant to this Section 17.2.2.7 shall not prohibit this waiver of subrogation. This waiver of subrogation shall
              be effective as to a person or entity (1) even though that person or entity would otherwise have a duty of
              indemnification, contractual or otherwise, (2) even though that person or entity did not pay the insurance premium
              directly or indirectly, or (3) whether or not the person or entity had an insurable interest in the damaged property. This
              provision does not apply to the Owner’s landlord unless a similar provision exists within Owner’s lease or any other
              written agreement with the landlord.

              § 17.2.2.7. 2 If during the Project construction period the Owner insures properties, real or personal or both, at or
              adjacent to the site by property insurance under policies separate from those insuring the Project, or if after final
              payment property insurance is to be provided on the completed Project through a policy or policies other than those
              insuring the Project during the construction period, to the extent permissible by such policies, the Owner waives all
              rights in accordance with the terms of Section 17.2.2.7.1 for damages caused by fire or other causes of loss covered by
              this separate property insurance. This provision does not apply to the Owner’s landlord unless a similar provision
              exists within Owner’s lease or any other written agreement with the landlord.

              § 17.2.2.8 A loss insured under the Owner’s property insurance shall be adjusted by the Owner as fiduciary and made
              payable to the Owner as fiduciary for the insureds, as their interests may appear, subject to requirements of any
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               applicable mortgagee clause. The Owner shall pay the TAi'-ehitee-t-aBd-Contractor-their-Contractor it’s just shares of
               insurance proceeds received by the Owner, and by appropriate agreements, written where legally required for validity,
               the Architect and-Contractor shall make payments to their consultants and Subcontractors in similar manner.
               PAGE 24

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               § 1-7-374-The-€>wner-&hajThave the right to require the Get^tractor to furnish bonds-covering faithful performance-efthe

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               eopy-to be furnishedr


               § 18.1 The Contractor shall promptly coirect Work rejected by the Areh-iteeTOwner or failing to conform to the
               requirements of the Contract Documents, whether discovered before or after Substantial Completion and whether or not
               fabricated, installed, or completed. Costs of correcting such rejected Work, including additional testing and inspections, the
               cost of uncovering and replacement, and compensation for the ArchiteefeOwner’s and/or Landlord’s seivices and expenses
               made necessary thereby, shall be at the Contractor’s expense, unless compensable under Section A. 1.7.3 in Exhibit A,
               Determination of the Cost of the Work. Any such corrective work, including correction of any other work or property
               sustaining damage as a result of the defective work, shall be commenced within 7 calendar days of notice of the defective
               work, unless the defective work is associated with a health or safety hazard in which case work shall commence immediately
               upon receipt of notice. If the corrective work will entail a period of time in excess of seven (7j calendar days. Contractor
               shall immediately notify the Owner and shall provide a schedule adjustment showing the work to be completed without
               change in the Schedule completion date.

               § 18.2 In addition to the Contractor’s obligations under Section 9.4, if, within one year after the date of Substantial
               Completion of the Work or designated portion thereof or after the date for commencement of warranties established
               under Section 1,5.6.3, or by terms of an applicable special warranty required by the Contract Documents, any of the
               Work is found to be not in accordance with the requirements of the Contract Documents, the Contractor shall correct it
               promptly after receipt of notice from the Owner to do so unless the Owner has previously given the Contractor a
               written acceptance of such condition. The Owner or Landlord shall give such notice promptly after discoveiy of the
               condition. During the one-year period for correction of Work, if the Owner or Landlord fails to notify the Contractor
               and give the Contractor an opportunity to make the correction, the Owner waives the rights to require correction by the
               Contractor and to make a claim for breach of warranty. This one year period shall not diminish or waive Contractor’s
               obligation to correct any latent defects and resulting damage during any applicable statute of limitations or statute of
               repose. Landlord shall be a third party beneficiary of this Article 18 and entitled to enforce the terms hereof.



              Tests, inspections, and approvaks of portion.s of the Work required by the Contract Documents or by applicable laws,
              statutes, ordinances, codes, rules and regulations, or lawful orders of public authorities shall be made at an appropriate
              time. Unless otherwise provided, the Contractor shall make arrangements for such tests, inspections, and approvals
              with an independent testing laboratory or entity acceptable to the Owner, or with the appropriate public aut-horrtyyand
              authority. Owner shall bear all related costs of tests, inspections, and approvals. The Contractor shall give the
              Arehitcet-Qwner timely notice of when and where tests and inspections are to be made so that the A-rdritegt-Owner or
              Owner’s independent testing agency or local code officials may be present for such procedures. The Owner shall bear
              costs of tests, inspections, or approvals that do not become requirements until after bids are received or negotiations
              concluded. The Owner shall directly arrange and pay for tests, inspections, or approvals where building codes or
              applicable laws or regulations so require.
              PAGE 25

              Gary Roberts

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              Email: garv.r@dhl.com

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                Miizalier Gaussaint
                Scungio Borst Associates
                Project Manager
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                Email: mgaussaint@.scungioborst.cQin



               § 19.7 Non-Solicitation
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               consent, directly or indirectly; f i) solicit or encourage any person to leave the einploymenl or other service of the
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               If the AfGhitest-Owner fails to certify payment as provided in Section 15.4.1 for a period of 30 davs-davs, through no
               fault of the Contractor, or if the Owner fails to make an approved payment as provided in Section 4.1.3 for a period of
               80-davST-an additional 30 days . subject to any additional time set forth above due to lender or landlord review, , the
               Contractor may, upon seven additional days’ notice to the Owner afldAhe-AfGhiteGti-terminate the Contract and recover
               from the Owner payment for Work executed, including reasonable overhead afld-profit-and profit on such Work, and
               costs incurred by reason of such {erminationrand-damageSitermination? 20.2 Termination by the Owner for Cause

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                            .2      fails to make payment to Subcontractors for materials or labor in accordance with the respective
                                    agreements between the Contractor and the S-ubeemraoterssSubcontractors and/or fails to effectuate a
                                    discharge of any filed lien as set forth in the Contract;
               PAGE 26

               § 20.2.2 When any of the reasons described in Section 20.2.1 exists, the Owner, upon e-erti-fieati-en- by- the- A4=elrJteot
               determination that sufficient cause exists to justify such action, may, without prejudice to any other remedy the Owner
               may have and after giving the Contractor seven days’ notice, terminate the Contract and take possession of the site and
               of all materials, equipment, tools, and construction equipment and machinery thereon owned by the Contractor and
               may finish the Work by whatever reasonable method the Owner may deem expedient. Upon request of the Contractor,
               the Owner shall furnish to the Contractor a detailed accounting of the costs incurred by the Owner in finishing the
               Work.




              § 20.2.4 If the unpaid balance of the Contract Sum less liquidated damages, if any, exceeds costs of finishing the
              Work, including compensation for the-an Architect’s service,s and expenses made necessary thereby, and other
              damages incurred by the Owner and not expressly waived, such excess shall be paid to the Contractor. If such costs
              and damage.s exceed the unpaid balance, the Contractor shall pay the difference to the Owner. The amount to be-paid
              te-the Gonlractor OF-Qwneiy as the case may bershati be certrfiod-by-t-h-e-A-reh+tee-t-.-upon application, and this This
              obligation for payment shall survive termination of the Contract.



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               The Owner may, at any time, terminate the Contract for the Owner’s convenience and without cause. The Owner shall
               pay the Contractor for Work executed; and costs incurred by reason of such termination, including costs attributable to
               termination of Subcontracts; and a termination fia&^fee. if any, as follows:



               Contractor is entitled to receive the Fee established in the initial Cost of the Work as shown in the initial Schedule of
               Values at the start of the Work plus any Fee established in approved Change Orders, in each case, prorated based upon
               the amount of work completed on such, but unpaid as of the effective date of the Termination for Convenience.



               § 21.1 Claims, disputes, and other matters in question arising out of or relating to this Contract, including those
               alleging an error or omission by the Architect but excluding those arising under Section 16.2, shall be referred initially
               to the Arehiteet-Owner for decision. Such matters, except those waived as provided for in Section 21.11 and Section.s
               15.7.3 and 15.7.4, shall, after initial decision by the Arehiteet-Owner or 30 day.s after submission of the matter to the
               Architect. Owner, be subject to mediation as a condition precedent to binding dispute resolution.



               § 21.2.1 Claims by either the Owner or Contractor, where the condition giving rise to the Claim is first discovered
               prior to expiration of the period for correction of the Work set forth in Section 18.2, shall be initiated by notice to the
               A-rehiteot-Owner within 21 days after occurrence of the event giving rise to such Claim or within 2! days after the
               claimant first recognizes the condition giving rise to the Claim, whichever is later.



               The Owner and Contractor shall commence all claims and causes of action against the other and arising out of or
               related to the Contract in accordance with the requirements of the final dispute resolution method selected in this
               Agreement whether in contract, tort, breach of warranty, or otherwise, within the period specified by applicable law,
               but in any case not more than 10 years after the date of Substantial Completion of the Werfe-Work or the applicable
               Statute of Repose, whichever is later.. The Owner and Contractor waive all claims and causes of action not
               commenced in accordance with this Section 21.3.



               § 21.5 The-parties-shati-As an absolute precondition, except as set forth below, the parties shall engage in and
               endeavor to resolve their disputes by mediation which, unless the parties mutually agree otherwise, shall be
               administered by the American Arbitration Association in accordance with their Construction Industry iMediation
               Procedures in effect on the date of this Agreement. A request for mediation shall be made in writing, delivered to the
               other party to this Agreement, and filed with the person or entity administering the mediation. The request may be
               made concurrently with the binding dispute resolution but, in such event, mediation shall proceed in advance of
               binding dispute resolution proceedings, which shall be stayed pending mediation for a period of 60 days from the date
               of filing, unless stayed for a longer period by agreement of the parties or court order. If an arbitration is stayed
               pursuant to this Section, the parties may nonetheless proceed to the selection of the arbitrator(s) and agree upon a
               schedule for later proceedings.

              § 21.6 If the parties have selected arbitration as the method for binding dispute resolution in this Agreement, any
              claim, subject to, but not resolved by, mediation shall be subject to arbitration which, unless the parties mutually agree
              otherwise, shall be administered by the American Arbitration Association, in accordance with the Construction
              Industry Arbitration Rules in effect on the date of this Agreement. Demand for arbitration shall be made in writing,
              delivered to the other party to the Contract, and filed with the person or entity administering the arbitration. The award
              rendered by the arbitrator or arbitrators shall be final, and judgment may be entered upon it in accordance with
              applicable law in any court having jurisdiction thereof. Such arbitration shall be the exclusive remedy for any disputes
              that cannot be resolved by mediation and shall be final and binding upon the parties. The parties each understand and
              agree that this arbitration selection shall constitute a full and complete waiver of their rights to file a lawsuit, unless

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               any statutory provisions pertaining to lien claims otherwise require or as set forth in Section 21.7. The parties further
               acknowledge that this provision represents a knowing waiver of the rights to have the matter heard and decided by a
               judge or jury, except for purposes of enforcement. Any arbitration proceeding shall occur within the Commonwealth
               of Pennsylvania, City of Philadelphia and any proposed arbitrators shall be comprised of qualified arbitrators
               proximate to the City of Philadelphia.
               PAGE 27

               § 21.9  The foregoing agreement to arbitrate and other agreements to arbitrate with an additional person or entity duly
               consented to by parties to this Agreement, shall be specifically enforceable under applicable law-in any cour-t-ltaving
               iui-isdictien-thcreefiapplying the law of the Commonwealth of Pennsylvania a court of competent jurisdiction within
               the Commonwealth of Pennsylvania.



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                tiquidated damages, when applieable7-iH-neeerdanee-with-the requirements of theGontract DecumentSrExcept as
                otherwise specifically provided in this Agreement, Owner shall not be liable to Contractor for any costs for principal
                office expenses, except those expenses for the compensation of personnel stationed there that may perform work for
                the Project and any other home office overhead. Except as otherwise specifically provided in this Agreement, neither
                party nor any of its employees, officers, or directors are liable to the other party for indirect, special, incidental,
                punitive, consequential or exemplary damages, including loss of profits or revenue, loss of use, cost of capital, down
                time costs, loss of production, loss of opportunity, loss of goodwill, and/or claims of customers of the other party for
                such damages, and each party hereby waives any right to the same: and each party hereby releases the other party and
                their respective employees, officers and directors from liability to the other for such damages. Contractor shall obtain
                from all subcontractors and vendors for the benefit of Owner releases from all such liability in accordance with the
                foregoing provisions of this Section. Owner agrees that the above waiver and release extends to Contractor’s
                subcontractors. The parties agree that the following shall not be construed or deemed to be indirect, special,
                incidental, consequential or exemplary damages for purposes of this Agreement: (i) damages resulting from personal
                injuries (including death) and illnesses, property damage, gross negligence. reckles.s or intentional misconduct.
                infringement, misappropriation, or breaches of confidentiality, (ii) costs necessary to properly correct the Work and
                any resulting property damage, (iii) third party damages that either party is obligated to indemnify for pursuant to this
                agreement and fiv) damages that are liquidated in this Agreement.

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                                                                                               Jim Buckley President




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                (Signed)




                (rule)




               (Dated)




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